     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19           Desc Main
                                     Document      Page 1 of 52



                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NORTH DAKOTA


In Re:                                                    Case No.: 17-30112

                                                          Chapter 11
Vanity Shop of Grand Forks, Inc.,

                      Debtor.


              DEBTOR’S THIRD PLAN OF LIQUIDATION DATED JULY 3, 2018


                                              ARTICLE I.
                                              SUMMARY

       Vanity Shop of Grand Forks, Inc. (“Debtor”), debtor-in-possession in the above-captioned
Chapter 11 case, hereby proposes the following Chapter 11 plan of liquidation pursuant to the provisions
of Chapter 11 of the Bankruptcy Code.

        For a discussion of the Debtor’s history, business, property, and a summary and analysis of the
Plan, stakeholders of the Debtor should review the Disclosure Statement filed with the Bankruptcy
Court to which the Plan is attached. ALL CLAIMHOLDERS AND INTERESTHOLDERS ARE
ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

        The Plan provides for the wind down of the Debtor’s affairs, continued liquidation and
conversion of all of the Debtor’s remaining assets and the distribution of the net proceeds realized to
creditors holding Allowed Claims in accordance with the relative priorities established in the
Bankruptcy Code. The Plan does not provide for a distribution to holders of Equity Interests, and their
votes are not being solicited. The Plan contemplates the appointment of a Plan Administrator to, among
other things, finalize the wind down of the Debtor’s affairs, resolve Disputed Claims, pursue any Causes
of Action, implement the terms of the Plan and make Distributions to holders of Allowed Claims. This
Plan also provides for the payment of Administrative Claims in full on the Effective Date of the Plan or
pursuant to agreement with the claimant.

        The Debtor expressly reserves its right to alter, amend or modify the Plan, one or more times,
before its substantial consummation, subject to the restrictions on modification set forth in section 1127
of the Bankruptcy Code and Bankruptcy Rule 3019 and as otherwise set forth in this Plan.

                                             ARTICLE II.
                                            DEFINITIONS

       2.1     Scope of definitions and rules of construction. For purposes of the Plan, except as
expressly provided or unless the context otherwise requires:
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19            Desc Main
                                     Document      Page 2 of 52



         a.    all Defined Terms shall have the meanings ascribed to them in Section 2.2 of the Plan;

         b.    any term used in the Plan that is not a Defined Term, but that is used in the Bankruptcy
               Code or Bankruptcy Rules has the meaning assigned to such term in the Bankruptcy
               Code or Bankruptcy Rules, as applicable, unless the context requires otherwise;

         c.    whenever the context requires, terms shall include the plural as well as the singular
               number, the masculine gender shall include the feminine, and the feminine gender shall
               include the masculine;

         d.    any reference in the Plan to an existing document, instrument, or exhibit means such
               document, instrument, or exhibit as it may be amended, modified, or supplemented from
               time to time;

         e.    any reference to a specific Person includes any successors or assigns of such Person, and
               all rights, benefits, interests, and obligations of any Person named or referred to in the
               Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
               administrator, trustee, liquidator, rehabilitator, conservator, successor, or assign of such
               Person;

         f.    unless otherwise indicated, the phrase “under the Plan” and similar words or phrases refer
               to the Plan in its entirety rather than to only a particular portion of the Plan;

         g.    whenever the Plan uses the word “including,” such reference shall be deemed to mean
               “including, without limitation,”;

         h.    captions and headings to articles and sections are inserted for convenience of reference
               only and are not intended to be a part of or to affect the interpretation of the Plan;

         i.    whenever the Plan provides that a document or thing must be “acceptable” or
               “satisfactory” to any Person, such requirement shall in each case be subject to a
               reasonableness qualifier;

         j.    the definition given to any term or provision in the Plan supersedes and controls any
               different meaning that may be given to that term or provision in the Disclosure
               Statement, on any Ballot, or in any other document; and

         k.    all other rules of construction set forth in Bankruptcy Code section 102 and in the
               Bankruptcy Rules shall apply; and

         l.    unless otherwise expressly provided herein, in computing any period of time prescribed
               or allowed by the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.

         2.2   Definitions. The following Defined Terms shall have the respective meanings specified
below.

       2.201 “Administrative Claim” means a claim for payment of an administrative expense of a
kind specified in section 503(b) of the Bankruptcy Code and entitled to priority pursuant to section


                                                    2
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19            Desc Main
                                     Document      Page 3 of 52



507(a)(1) of the Bankruptcy Code, including, but not limited to, (a) the actual, necessary costs and
expenses, incurred after the Petition Date, of preserving the Estate and operating the businesses of the
Debtor, including wages, salaries or commissions for services rendered after the commencement of the
Chapter 11 case, (b) Professional Fee Claims, and (c) all fees and charges assessed against the Estate
under chapter 123 of title 28, United States Code.

       2.202 “Administrative Claim Bar Date” means the first Business Day that is thirty (30)
calendar days after the Effective Date.

       2.203 “Administrative Tax Claim” means a claim for any tax of a kind specified in section
503(b)(1)(B) and (C) of the Bankruptcy Code and entitled to priority pursuant to section 507(a)(1) of the
Bankruptcy Code.

        2.204 “Allowed Claim” means a Claim or any portion thereof (a) that has been allowed by a
Final Order, or (b) as to which, on or by the Effective Date, (i) no proof of claim has been filed with the
Bankruptcy Court and (ii) the liquidated and noncontingent amount of which is scheduled, other than a
Claim that is scheduled in an unknown amount or as disputed, or (c) for which a proof of claim in a
liquidated amount has been timely filed with the Bankruptcy Court pursuant to the Bankruptcy Code,
any Final Order of the Bankruptcy Court or other applicable bankruptcy law, and as to which either
(i) no objection to its allowance has been filed within the periods of limitation fixed by the Plan, the
Bankruptcy Code or by any order of the Bankruptcy Court or (ii) any objection to its allowance has been
settled or withdrawn, or has been denied by a Final Order, or (d) that is expressly allowed in a liquidated
amount in the Plan. The amount of an Allowed Claim shall be the lesser of the amount stated in a proof
of claim filed for such Claim (if less than the amount scheduled for such Claim), the amount agreed to in
a written settlement, or the amount allowed by a Final Order. All Distributions on account of an
Allowed Claim will be made to the Claimholder of record on the Record Date.

       2.205 “Avoidance Actions” means, unless otherwise released under a prior Order of the
Bankruptcy Court or under the Plan, Causes of Action against Persons arising under sections 502, 510,
541, 542, 544, 545, 547, 548, 549, 550, 551 and 553 of the Bankruptcy Code, or under related state or
federal statutes and common law, including fraudulent transfer laws, whether or not litigation is
commenced to prosecute such Avoidance Actions.

        2.206 “Ballot” means the ballot form(s) that are distributed with the Disclosure Statement to
Claimholders with Claims in Classes that are impaired under the Plan and entitled to vote under
Articles III and V hereof in connection with the solicitation of acceptances of the Plan.

       2.207 “Bar Date” means the date or dates established by the Bankruptcy Court and/or
Bankruptcy Rule 3002 by which Proofs of Claim must be filed. The general bar date for proofs of claims
was July 3, 2017 for most creditors and governmental entities.

       2.208 “Business Day” means any day, excluding Saturdays, Sundays and legal holidays, on
which commercial banks are open for business in Fargo, North Dakota.

       2.209 “Causes of Action” means, unless otherwise released under a prior Order of the
Bankruptcy Court or under the Plan, any and all actions, causes of action, suits, accounts, controversies,
agreements, promises, rights (including rights to legal remedies, equitable remedies, and payment),
claims, cross claims, third-party claims, interests, damages, debts, judgments, demands, obligations,


                                                    3
     Case 17-30112        Doc 773      Filed 07/03/18 Entered 07/03/18 16:40:19              Desc Main
                                       Document      Page 4 of 52



liabilities, defenses, offsets, powers, privileges, licenses, liens, indemnities, guaranties, and franchises of
any kind or character whatsoever, whether known, unknown, foreseen, unforeseen, existing, hereinafter
arising, reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent, non-
contingent, matured, unmatured, suspected, unsuspected, disputed, undisputed, secured, or unsecured,
and whether asserted or assertable directly or derivatively, arising before, on, or after the Petition Date,
in contract, tort, law, equity, or pursuant to any other theory of law or otherwise. Causes of Action also
include: (a) any rights of setoff, counterclaim, or recoupment and any claims under contracts or for
breaches of duties imposed by law or in equity; (b) the right to object to or otherwise contest Claims or
Equity Interests; (c) claims pursuant to section 362 or Chapter 5 of the Bankruptcy Code; (d) any claims
or defenses, including fraud, mistake, duress, and usury, and any other defenses set forth in section 558
of the Bankruptcy Code; and (e) any state law fraudulent transfer claim. For the avoidance of doubt, all
Avoidance Actions and Preserved Claims are Causes of Action.

       2.210 “Claim” means a claim against the Debtor, whether or not asserted, as defined in section
101(5) of the Bankruptcy Code.

       2.211 “Claim Objection Deadline” means the date that is the first Business Day that is at least
180 calendar days after the Effective Date. For the avoidance of doubt, the Claim Objection Deadline
may be extended one or more times by the Bankruptcy Court.

       2.212 “Claims Agent” means Kurtzman Carson Consultants, LLC, the claims and noticing
agent of the Debtor.

       2.213 “Claimholder” means a holder of a Claim.

       2.214 “Claims Reserve” means remaining cash funds and Revested Assets held by the Plan
Administrator after payment in full of all Plan Administration Expenses, Allowed Administrative
Claims (including Professional Fee Claims and Administrative Tax Claims), Allowed Priority Tax
Claims, Allowed Claims in Class 2, Allowed Claims in Class 3, and the First Interim Distribution to
Class 4.

       2.215 “Class” means a category of Claimholders or Interestholders described in Article III and
V of the Plan.

       2.216 “Confirmation Date” means the date of entry of the Confirmation Order.

       2.217 “Confirmation Hearing” means the hearing before the Bankruptcy Court on
confirmation of the Plan and related matters under section 1128 of the Bankruptcy Code.

       2.218 “Confirmation Hearing Notice” means the notice of, among other things, the time for
submitting Ballots to accept or reject the Plan, the date, time and place of the Confirmation Hearing and
the time for filing objections to the confirmation of the Plan.

        2.219 “Confirmation Order” means the order entered by the Bankruptcy Court confirming in
all respects all of the provisions, terms and conditions of this Plan.




                                                      4
     Case 17-30112        Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19              Desc Main
                                      Document      Page 5 of 52



        2.220 “Creditors’ Committee” means the Official Committee of Unsecured Creditors
consisting of the Persons appointed to such Committee in the Chapter 11 case pursuant to section
1102(a) of the Bankruptcy Code and their appointed successors, as amended from time to time.

       2.221 “Disallowed Claim” means a Claim, or any portion thereof, that (a) has been disallowed
by a Final Order or (b) is scheduled at zero or as contingent, disputed or unliquidated and as to which a
Bar Date has been established, but no proof of claim has been filed or deemed timely filed with the
Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the Bankruptcy Court or
otherwise deemed timely filed under applicable law.

       2.222 “Disclosure Statement” means the written disclosure statement that relates to the Plan, as
approved by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code and Bankruptcy
Rule 3017, as such disclosure statement may be amended, modified or supplemented from time to time.

        2.223 “Disclosure Statement Approval Order” means a Final Order approving, among other
things, the Disclosure Statement.

        2.224 “Disputed Claim” means a Claim, or any portion thereof, that is neither an Allowed
Claim nor a Disallowed Claim, and includes, without limitation, a Claim that (a) has not been Scheduled
or is scheduled by the Debtor as unknown or as contingent, unliquidated or disputed for which a proof of
claim has been filed or (b) is the subject of an objection filed with the Bankruptcy Court and which
objection has not been withdrawn or resolved by a Final Order of the Bankruptcy Court. For the
avoidance of doubt, Statutory Insider Claims are Disputed Claims.

       2.225 “Distribution” means any distribution provided for in this Plan to holders of Allowed
Claims in full or partial satisfaction of such Allowed Claims.

       2.226 “Distribution Dates” means collectively, the First Distribution Date, any Subsequent
Distribution Date and the Final Distribution Date.

        2.227 “Effective Date” means the first Business Day that is thirty (30) calendar days following
the date of the entry of the entry of the order of confirmation. But if a stay of the confirmation order is in
effect on that date, the effective date will be the first Business Day after that date on which no stay of the
confirmation order is in effect, provided that the confirmation order has not been vacated.

         2.228 “Effective Date Unsecured Claim” means a Claim that is an unsecured Allowed Claim
that is that will be subject to treatment as Class 4 under the Plan.

       2.229 “Estate Assets” means all of the right, title and interest of the Debtor in and to property of
whatever type or nature (real, personal, mixed, tangible or intangible), including property of the
Debtor’s Estate. For the avoidance of doubt, all Causes of Action, Preserved Claims and Avoidance
Actions are included within Estate Assets.

      2.230 “Estate” means the bankruptcy estate of the Debtor arising pursuant to section 541 of the
Bankruptcy Code.




                                                      5
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19           Desc Main
                                     Document      Page 6 of 52



         2.231 “Face Amount” means (a) when used in reference to a Disputed or Disallowed Claim, the
full stated amount claimed by the Claimholder in any proof of claim filed with the Bankruptcy Court,
and (b) when used in reference to an Allowed Claim, the allowed amount of such Claim.

      2.232 “Final Decree” means the order entered pursuant to section 350, of the Bankruptcy Code
and Bankruptcy Rule 3022 closing the Chapter 11 case.

        2.233 “Final Distribution Date” means the date(s) on which a final Distribution is made to
holders of Allowed Claims entitled to Distributions. The Final Distribution Date(s) shall be one or more
dates, as determined by the Plan Administrator, which is after the liquidation of all Estate Assets (other
than those assets abandoned by the Debtor, Liquidating Debtor or the Plan Administrator, as applicable)
and the collection of other sums due or otherwise remitted or returned to the Estate.

       2.234 “Final Order” means an order or judgment, the operation or effect of which has not been
stayed, reversed or amended and as to which order or judgment (or any revision, modification or
amendment thereof) the time to appeal or seek review or rehearing has expired and as to which no
appeal or petition for review or rehearing was filed or, if filed, remains pending.

       2.235 “First Interim Distribution” means the initial Distribution to be made to holders of Class
4 Allowed Claims.

        2.236 “First Distribution Date” means with respect to a Claim that is Allowed as of the
Effective Date (i.e., Class 4 - General Unsecured Claims), the Effective Date or the date that is as soon
as reasonably practicable after the Effective Date.

        2.237 “Impaired” refers to any Claim or Equity Interest that is impaired within the meaning of
section 1124 of the Bankruptcy Code.

        2.238 “Equity Interest” means the rights of any current or former holder or owner of any shares
of common stock, preferred stock or any other equity securities of the Debtor authorized and issued
prior to the Confirmation Date, exclusive of any such interests held in treasury by the Debtor.

       2.239 “Interestholder” means a holder of an Equity Interest.

       2.240 “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended.

       2.241 “Liquidating Debtor” means the Debtor on and after the Effective Date.

       2.242 “Person” means an individual, corporation, partnership, joint venture, association, joint
stock company, limited liability company, limited liability partnership, trust, estate, unincorporated
organization or other entity.

     2.243 “Petition Date” means March 1, 2017, which is the date Debtor filed its petition
commencing its Chapter 11 case.

        2.244 “Plan” means the plan which is proposed by the Debtor for the resolution of outstanding
Claims and Equity Interests in the Chapter 11 case, as such plan may be amended or modified from time
to time in accordance with the Bankruptcy Code.


                                                    6
     Case 17-30112        Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19              Desc Main
                                      Document      Page 7 of 52



         2.245 “Plan Administration Expenses” means any and all reasonable and documented fees,
costs, and expenses incurred by the Plan Administrator (or any Person engaged by the Plan
Administrator to effect Distributions or otherwise assist the Plan Administrator with its duties under the
Plan) in connection with any of its duties under the Plan, including (i) any administrative fees;
(ii) attorneys’ or other professionals’ fees and expenses of the Plan Administrator; (iii) insurance fees;
(iv) taxes; (v) fees payable under 28 U.S.C. § 1930; (vi) costs associated with any maintenance,
liquidation, and administration of any going concern as part of the wind down of the Debtor’s business
operations; (vii) costs to maintain any Revested Assets while they are held for sale or otherwise
liquidated; (viii) fees incurred in connection with the making of Distributions; and (ix) fees, costs, and
expenses incurred in prosecution of Causes of Action, Preserved Claims and Avoidance Actions.

       2.246 “Plan Administrator” means the Person designated for such position in the Plan
Supplement or such other Person appointed in accordance with Section 7.2(a) of the Plan, acting
pursuant to the authority granted under Section 7.2(c) of the Plan.

       2.247 “Plan Supplement” means the compilation of documents and forms of documents,
schedules and Exhibits to the Plan to be filed no later than seven (7) days before the Confirmation
Hearing, on notice to parties in interest, and additional documents filed before the Effective Date as
supplements or amendments to the Plan Supplement. The Debtor shall have the right to amend the
documents contained in, and Exhibits to, the Plan Supplement through the Effective Date.

        2.248 “Preserved Claims” means all Causes of Action (including Avoidance Actions) of the
Debtor or the Estate, but excluding all Causes of Action that are expressly waived, relinquished,
released, compromised, or settled in the Plan, pursuant to the Confirmation Order, or pursuant to any
other order of the Bankruptcy Court. The failure to specifically identify in the Disclosure Statement or
the Plan any potential or existing Causes of Action as a Preserved Claim is not intended to and shall not
limit the rights of the Plan Administrator to pursue any such Causes of Action. The Debtor expressly
reserves all Causes of Action, other than those Causes of Action that are expressly waived, relinquished,
released, compromised, or settled in the Plan, pursuant to the Confirmation Order, or pursuant to any
other order of the Bankruptcy Court, as Preserved Claims for later adjudication, and no preclusion
doctrine (including the doctrines of res judicata, collateral estoppel, judicial estoppel, equitable estoppel,
issue preclusion, claim preclusion, and laches) shall apply to such Causes of Action as Preserved Claims
on or after the Effective Date.

       2.249 “Post-Effective Date Unsecured Claim” means a Claim that is an unsecured Disputed
Claim that is that will be subject to treatment as Class 4 under the Plan.

       2.250 “Priority Claim” means an unsecured Claim that is entitled to payment before other
unsecured creditors in accordance with section 507 of the Bankruptcy Code.

         2.251 “Priority Non-Tax Claim” means any Claim of a kind specified in section 507(a)(3), (4),
(5), (6), (7) or (9) of the Bankruptcy Code.

       2.252 “Priority Tax Claim” means any Claim of a governmental unit of the kind specified in
sections 502(i) or 507(a)(8) of the Bankruptcy Code.




                                                      7
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19           Desc Main
                                     Document      Page 8 of 52



        2.253 “Pro Rata” means, at any time, the proportion that the Face Amount of a Claim in a
particular Class bears to the aggregate Face Amount of all Claims (including Disputed Claims, but
excluding Disallowed Claims) in such Class, unless the Plan provides otherwise.

       2.254 “Professional” means a professional retained in the Chapter 11 case pursuant to sections 327,
328 and 1103 of the Bankruptcy Code, or otherwise.

       2.255 “Professional Fee Claim” means a Claim of a Professional for compensation or
reimbursement of costs and expenses relating to services rendered after the Petition Date and prior to
and including the Effective Date.

       2.256 “Record Date” means the date that is two (2) Business Days after the entry of an order by
the Bankruptcy Court approving the Disclosure Statement.

       2.257 “Revested Assets” means all Estate Assets and includes Causes of Action, Preserved
Claims and Avoidance Actions.

       2.258 “Statutory Insider” means any individual or entity within the meaning of Section
101(31) of the Bankruptcy Code and includes but is not limited to the following for purposes of this
Plan: Anderson, Bottrell, Sanden, & Thompson Law firm, Barrier Lake Investments, LLC Diamond B
Technology Solutions, LLC, Sales Floor Live, LLC, TGC, LP, and Vanity, Inc.

        2.259 “Statutory Insider Claim” means a Claim by a Statutory Insider, including but not
limited to for purposes of this Plan the Claims of TGC, LP filed as proof of claim number 281, Sales
Floor Live, LLC filed as proof of claim numbers 284 and 303, Diamond B Technology Solutions, LLC
filed as proof of claim numbers 280 and 299, Bottrell Family Investments, LP filed as proof of claim
numbers 285 and 304.

      2.260 “Subsequent Interim Distribution” means a Distribution made by the Plan
Administrator subsequent to the First Interim Distribution.

       2.261 “Subsequent Distribution Date” means any date, as determined by the Plan
Administrator which is after the First Distribution Date and prior to the Final Distribution Date, on
which the Plan Administrator commences a Distribution to Holders of Allowed Claims pursuant to the
Plan.

        2.262 “Tax Refunds” means the Claim of the Debtor for a refund of state or federal income
taxes other than any refund of state income taxes received by a Debtor prior to the Petition Date.

       2.263 “Unimpaired” refers to any Claim which is not Impaired.

      2.264 “U.S. Trustee” means the Office of the United States Trustee for the District of North
Dakota.

        2.265 “Wind Down End Date” means the date on which (a) the Plan Administrator determines
that the pursuit of additional Preserved Claims is not likely to yield sufficient additional proceeds to
justify further pursuit of such Preserved Claims or determines to abandon any remaining Revested
Assets, (b) all objections to Disputed Administrative Claims, Post-Effective Date Unsecured Claims,


                                                    8
     Case 17-30112        Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19              Desc Main
                                      Document      Page 9 of 52



and Disputed Priority Claims are fully resolved, (c) all Distributions required to be made by the Plan
Administrator have been made, (d) the Revested Assets have been liquidated, abandoned, or otherwise
administered under the Plan, and (e) the Plan Administrator either has obtained authority from the
Bankruptcy Court for the entry of the Final Decree or has been relieved of further duties pursuant to the
Plan.

        2.3    Governing Law. Unless a rule of law or procedure is supplied by federal law (including
the Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State
of North Dakota, without giving effect to the principles of conflict of laws, shall govern the rights,
obligations, construction, and implementation of the Plan, any agreements, documents, instruments, or
contracts executed or entered into in connection with the Plan (except as otherwise set forth in those
agreements, in which case the governing law of such agreement shall control).

        2.4    Exhibits. All exhibits are incorporated into and are a part of the Plan as if set forth in full
herein and as may be filed with the Plan Supplement.

                                       ARTICLE III.
                         CLASSIFICATION OF CLAIMS AND INTERESTS

        Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation of classes of
Claims against and Equity Interests in the Debtor. A Claim or Equity Interest is placed in a particular
Class for the purposes of voting on the Plan and receiving Distributions pursuant to the Plan only to the
extent that such Claim or Equity Interest is an Allowed Claim in that Class and such Claim or Equity
Interest has not been paid, released or otherwise settled prior to the Effective Date. In accordance with
section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority Tax Claims have not
been classified and their treatment is set forth in Article IV below.

       All Allowed Claims and Equity Interests are consolidated into the Classes set forth below.

         Class                    Description                 Impairment                 Voting Status

      Unclassified           Administrative Claims            Unimpaired               Not entitled to vote

      Unclassified          Professional Fee Claims           Unimpaired               Not entitled to vote

      Unclassified            Priority Tax Claims             Unimpaired               Not entitled to vote

                                                                                       Not entitled to vote
         Class 1               Wells Fargo Bank               Unimpaired
                                                                                       (deemed to accept)

         Class 2             Other Secured Claims               Impaired                Entitled to Vote

                             Convenience Class –
         Class 3              General Unsecured                 Impaired                Entitled to Vote
                                   Claims

         Class 4                                                Impaired                Entitled to Vote
                              General Unsecured



                                                      9
     Case 17-30112       Doc 773    Filed 07/03/18 Entered 07/03/18 16:40:19            Desc Main
                                    Document      Page 10 of 52



                                   Claims

                                                                                   Not Entitled to Vote
        Class 5                Equity Interests              Impaired
                                                                                    (deemed to reject)

                            ARTICLE IV.
TREATMENT OF UNCLASSIFIED ADMINISTRATIVE, PROFESSIONAL, AND PRIORITY
                            TAX CLAIMS

       4.1     Administrative Claims -- Professional Claims.

                a.     Final Professional Fee Claim Applications. All final requests for payment of
       Professional Fee Claims pursuant to Bankruptcy Code sections 327, 328, 330, 331, 363, 503(b),
       or 1103 must be made by application filed with the Bankruptcy Court and served on counsel to
       the Plan Administrator, counsel to the Creditors’ Committee, and the U.S. Trustee no later than
       the first Business Day that is thirty (30) calendar days after the Effective Date, unless otherwise
       ordered by the Bankruptcy Court (the "Administrative Claim Bar Date"). Objections to such
       applications must be filed and served on counsel to the Plan Administrator, counsel to the
       Creditors’ Committee, the U.S. Trustee, and the requesting Professional on or before the date
       that is twenty-one (21) calendar days after the date on which the applicable application was
       served (or such longer period as may be allowed by order of the Bankruptcy Court or by
       agreement with the requesting Professional). Any Professional Fee Claim not timely filed and
       asserted will be forever barred and discharged.

              b.     Payment of Professional Fee Claims. All Professional Fee Claims shall be paid by
       the Plan Administrator to the extent approved by order of the Bankruptcy Court within five (5)
       Business Days after entry of such order.

               c.     Post-Effective Date Services. After the Effective Date, any requirement that
       Professionals comply with sections 327 through 331 of the Bankruptcy Code in seeking retention
       or compensation for services rendered after such date shall terminate. The Plan Administrator
       shall pay any Professionals for Post-Effective Date services requested by the Plan Administrator.

        4.2    Administrative Claims –Administrative Tax Claims under section 503(b)(1)(B) and
(C) of the Bankruptcy Code. Allowed Administrative Claims under section 503(b)(1)(B) and (C) of
the Bankruptcy Code shall be paid in full by the Plan Administrator as soon as reasonably practicable
after the Effective Date. Creditors with Allowed Administrative Claims as of the Record Date are
identified on Exhibit A.

        4.3    Priority Tax Claims. In full satisfaction, settlement, and release of and in exchange for
such Claims, Allowed Priority Tax Claims shall be paid by the Plan Administrator, at the Plan
Administrator’s option, as follows: (a) cash funds equal to the unpaid portion of the Face Amount of
such Allowed Priority Tax Claim on the later of the Effective Date or thirty (30) calendar days following
the date on which such Priority Tax Claim becomes an Allowed Priority Tax Claim; or (b) such other
treatment as to which the holder of an Allowed Priority Tax Claim and the Plan Administrator shall have
agreed upon in writing. Creditors with Allowed Administrative Claims as of the Record Date are
identified on Exhibit A.



                                                   10
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19            Desc Main
                                     Document      Page 11 of 52



        4.4    All Other Administrative Claims. Any person or entity who requests compensation or
expense reimbursement in the Chapter 11 case pursuant to section 503 of the Bankruptcy Code (other
than Professional Fee Claims, Administrative Tax Claims and Priority Tax Claims) must have timely
filed a proof of claim asserting its administrative claim or must file an application with the clerk of the
Bankruptcy Court and serve such application on counsel for the Plan Administrator and the U.S. Trustee
no later than the first Business Day that is thirty (30) calendar days after the Effective Date, unless
otherwise ordered by the Court (the “Administrative Claim Deadline”), or be forever barred from
seeking such compensation or expense reimbursement. For the avoidance of doubt, Section 503(b)(9)
Claims are subject to this section 4.4 of the Plan and requesting claimants must have timely filed a proof
of claim or must file an application unless its treatment is Allowed as of the Record Date as identified on
Exhibit A. Unless the Plan Administrator objects to an Administrative Claim, such Administrative
Claim shall be deemed an Allowed Administrative Claim in the amount requested. Objections to such
applications must be filed and served on counsel to the Plan Administrator, the U.S. Trustee, and the
requesting claimant on or before the date that is twenty-one (21) calendar days after the date on which
the applicable application was served (or such longer period as may be allowed by order of the
Bankruptcy Court or by agreement with the requesting claimant). Administrative Claims asserted in a
timely filed proof of claim will be determined through the claims objection process. All Allowed
Administrative Claims (other than Professional Fee Claims, Administrative Tax Claims and Priority Tax
Claims) shall be paid by the Plan Administrator within thirty (30) days of allowance by the Bankruptcy
Court, unless appealed by the Plan Administrator. Creditors with Allowed Administrative Claims as of
the Record Date are identified on Exhibit A

                                    ARTICLE V.
                     TREATMENT OF CLAIMS AND EQUITY INTERESTS

       5.1      Class 1 (Wells Fargo Bank, N.A.). Wells Fargo Bank, N.A. was paid in full during the
pendency of the Chapter 11 case. Wells Fargo has no further claim against the Debtor and will not
receive a Distribution under the Plan.

        5.2     Class 2 (Other Secured Claims). This class consists of state-law personal property tax
claims that are entitled to secured status by virtue of applicable state law and the Final Order: (I)
Authorizing the Debtor to Assume the Consulting Agreement, (II) Authorizing and Approving the
Conduct of Store Closing Sales, with Such Sales to be Free and Clear of All Liens, Claims and
Encumbrances, and (III) Granting Related Relief of date May 23, 2017 (Doc. 172). Allowed Class 2 –
Other Secured Claims shall be paid by the Plan Administrator, at the Plan Administrator’s option, as
follows: (a) cash funds equal to the Allowed amount of such Class 2 – Other Secured Claims on the
later of the Effective Date or thirty (30) calendar days following the date on which such Class 2 – Other
Secured Claim becomes an Allowed Claim; or (b) such other treatment as to which the holder of an
Allowed Class 2 – Other Secured Claim and the Plan Administrator shall have agreed upon in writing.
These payments shall include interest from the petition date through the Effective Date and from the
Effective Date through the date of payment in full at the applicable statutory rate pursuant to 11 U.S.C.
§§ 506(b), 511 and 1129. Holders of Class 2 - Other Secured Claims shall retain their liens with the
same validity, extent, and priority until all taxes and related penalties, interest, and fees (if any) have
been paid in full. Class – 2 Other Secured Claims may be paid in full at any time without penalty.
Creditors with Allowed Class 2 – Other Secured Claims as of the Record Date are identified on Exhibit
B.



                                                    11
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19           Desc Main
                                     Document      Page 12 of 52



        5.3    Class 3 (Convenience Unsecured Claims). This class shall consist of unsecured
Allowed Claims not entitled to priority where the total of the unsecured Allowed Claim does not exceed
$1,500.00. Any unsecured creditor whose claim exceeds $1,500.00 may elect by voting on the Plan to be
treated as a Class 3 Convenience Class creditor by electing to reduce their Claim to $1,500.00. The
holders of Class 3 Allowed Claims will be paid a total of 50% of their Allowed Claims as soon as
reasonably practicable after the Effective Date. Such payments shall be in full satisfaction of each Class
3 Allowed Claim. The Debtor estimates there are approximately $105,000 in Allowed Claims in Class 3.
Creditors with Class 3 Allowed Claims as of the Record Date are identified on Exhibit C.

        5.4     Class 4 (General Unsecured Claims). Except to the extent that a holder of a Class 4
Allowed Claim agrees to a less favorable treatment, each holder of a Class 4 General Unsecured Claim
shall receive its Pro Rata share of the First Interim Distribution (if the Claim is deemed Allowed as of
the Record Date) and Subsequent Interim Distributions after payment in full of (or reserve for) Plan
Administration Expenses, all Allowed Administrative Claims as set forth in Article IV above (including
Professional Fee Claims, Administrative Tax Claims, and Priority Tax Claims), Allowed Claims in
Class 2, and Allowed Claims in Class 3, and the Claims Reserve. Subsequent Interim Distributions and
the final Distribution on Class 4 Allowed Claims shall be made as soon as reasonably practicable after
the Effective Date and after the reconciliation of all Class 4 Claims. Such Distributions shall be in full
satisfaction of each Class 4 Allowed Claim with the effective date of the satisfaction being the Final
Distribution Date. The holders of Allowed Claims in Class 4 shall be paid Pro Rata based on the
aggregate Face Amount of all Allowed Class 4 - General Unsecured Claims. Creditors with Class 4
General Unsecured Claims as of the Record Date are identified on Exhibit D.

       5.5     Class 5 (Equity Interests). The holders of Equity Interests in Class 5 shall have their
Equity Interests against the Debtor extinguished as of the Effective Date and shall receive no
Distributions under this Plan.

                                   ARTICLE VI.
                    UNEXPIRED LEASES AND EXECUTORY CONTRACTS

       6.1    Assumed Executory Contracts and Unexpired Leases. The Debtor assumes the
following executory contracts and/or unexpired leases still in effect upon the Effective Date of the Plan:

                      NONE

        6.2    Deemed Rejection on the Effective Date. On the Effective Date, the Debtor’s executory
contracts and unexpired leases will be conclusively deemed rejected. Section 6.2 does not apply to
executory contracts or unexpired leases that (a) were previously assumed or rejected by the Debtor or
are the subject of a pending assumption or rejection motion; (b) expired or terminated pursuant to their
own terms; or (c) are identified in Section 6.1 above as an executory contract to be assumed. The
Confirmation Order shall constitute an order of the Bankruptcy Court approving such rejections,
pursuant to section 365 of the Bankruptcy Code.

       6.3     Rejection Bar Date. If the rejection by the Debtor, pursuant to the Plan or otherwise, of
an executory contract or unexpired lease results in a Claim, then such Claim shall be forever barred and
shall not be enforceable against the Debtor, the Liquidating Debtor, the Plan Administrator or the
properties of any of them unless a proof of claim was filed with the Claims Agent within the time


                                                   12
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19            Desc Main
                                     Document      Page 13 of 52



allowed by the Bar Date or the Bankruptcy Court’s applicable order authorizing the Debtor to reject an
executory contract or unexpired lease; provided, however, that notwithstanding the foregoing, in the case
of an executory contract or unexpired lease "deemed rejected" pursuant to Section 6.2 of this Plan which
results in a Claim, such Claim shall be forever barred and shall not be enforceable against the Debtor,
the Liquidating Debtor, the Plan Administrator, the Estate or the properties of any of them unless a proof
of claim is filed with the Claims Agent and served upon counsel to the Plan Administrator within
thirty (30) days after the Effective Date.

                                     ARTICLE VII.
                        MEANS FOR IMPLEMENTATION OF THE PLAN

        After the Effective Date, the Plan will be implemented by, among other things, the establishment
of the Plan Administrator, and the making of Distributions by the Plan Administrator, as applicable, in
accordance with the Plan.

       7.1     The Debtor’s Post-Effective Date Corporate Affairs.

       a.      Debtor’s Existing Directors, Officers, and Managers. On the Effective Date, the Debtor’s
       existing directors, officers, and managers shall be terminated automatically without the need for
       any corporate action or approval and without the need for any corporate filings, and shall have
       no continuing obligations to the Debtor or the Estate following the occurrence of the Effective
       Date.

       b.      Wind Down and Dissolution of the Debtor.

                       (i) On the Effective Date, all Equity Interests shall be cancelled and one new
               share of Debtor’s common stock shall be issued to the Plan Administrator which will
               hold such share for the benefit of the holders of such former Equity Interests consistent
               with their former economic entitlements. Each holder of an Equity Interest shall neither
               receive nor retain any property or interest in property on account of such Equity Interests;
               provided however, that in the event that all Allowed Claims in Classes 2 through 4 have
               been satisfied in full in accordance with the Bankruptcy Code and the Plan, each holder
               of an Equity Interest may receive a pro rata equity share of any remaining assets of the
               Debtor consistent with such holder’s rights of priority of payment existing immediately
               prior to the Petition Date. The rights of the holders of former Equity interests in Debtor
               shall be nontransferable. Unless otherwise determined by the Plan Administrator, on the
               date that Debtor’s Chapter 11 case is closed, all such former Equity Interests in Debtor
               shall be deemed cancelled and of no force and effect provided that such cancellation does
               not adversely impact the Debtor’s Estate.

                       (ii) After the Effective Date, the Plan Administrator may decide to (i) maintain
               the Debtor as a corporation in good standing until such time as all aspects of the Plan
               pertaining to Debtor have been completed, or (ii) at such time as the Plan Administrator
               considers appropriate and consistent with the implementation of the Plan, merge,
               dissolve, or otherwise terminate the existence of the Debtor and complete the winding
               down of the Debtor without the necessity for any other or further actions to be taken by




                                                    13
Case 17-30112      Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19              Desc Main
                               Document      Page 14 of 52



        or on behalf of the dissolving Debtor or any other Person or any payments to be made in
        connection therewith.

                (iii) On and after the Effective Date, pursuant to the Plan, the Plan Administrator
        shall have the right, but not the obligation, to wind down, sell, and otherwise liquidate all
        Revested Assets, including the Causes of Action, Preserved Claims and Avoidance
        Actions.

 c.     Corporate Documents and Corporate Authority.

               (i) As of the Effective Date, the certificate of incorporation, bylaws, or articles of
        organization, as applicable, of the Debtor and the Liquidating Debtor shall be deemed
        amended to the extent necessary to carry out the provisions of the Plan.

                (ii) The entry of the Confirmation Order shall constitute authorization for the
        Debtor, the Liquidating Debtor, and the Plan Administrator to take or cause to be taken
        all actions (including, if applicable, corporate actions) necessary or appropriate to
        implement all provisions of, and to consummate, the Plan prior to, on, and after the
        Effective Date and all such actions taken or caused to be taken shall be deemed to have
        been authorized and approved by the Bankruptcy Court without further approval, act, or
        action under any applicable law, order, rule, or regulation.

 7.2    The Plan Administrator.

         a.     Appointment. On and after the Effective Date, the initial Plan Administrator shall
 be Mr. Phillip Kunkel, an attorney with Gray Plant Mooty Law Firm, 1010 W. St. Germain,
 Suite 500, St. Cloud, MN 56301. The Plan Administrator’s fee shall be comparable to the hourly
 rates charged in In re Tracy Clement, U.S. Bankruptcy Court for the District of Minnesota, Case
 No. 16-31189.

 If Phillip Kunkel is unable or is unwilling to serve as the Plan Administrator, then James
 Bartholomew, Lighthouse Management Group Inc., Minneapolis, Minnesota will be appointed as
 the initial Plan Administrator.

         b.      Vesting of Revested Assets. On the Effective Date, the Debtor and its Estate shall
 irrevocably vest in the Liquidating Debtor for purposes of administration, by the Plan
 Administrator, of all of its respective rights, title, and interest in and to all Revested Assets, and
 in accordance with section 1141 of the Bankruptcy Code. For the avoidance of doubt, the
 Revested Assets include Causes of Action, Avoidance Actions and Preserved Claims. Except as
 specifically provided in the Plan or the Confirmation Order, the Revested Assets shall
 automatically vest in the Liquidating Debtor free and clear of all Claims, Liens, encumbrances,
 or interests, and such vesting shall be exempt from any stamp, real estate transfer, other transfer,
 mortgage reporting, sales, use, or other similar tax. The Plan Administrator shall be the exclusive
 representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code
 regarding all Revested Assets.

        c.     Authority. The Plan Administrator shall have the sole authority and right on
 behalf of the Debtor, the Liquidating Debtor, and its Estate, without the need for Bankruptcy


                                              14
Case 17-30112         Doc 773   Filed 07/03/18 Entered 07/03/18 16:40:19              Desc Main
                                Document      Page 15 of 52



 Court approval (unless otherwise indicated), to carry out and implement all provisions of the
 Plan, including to:

                i.       proceed to liquidate the Debtor’s estate for the best interests of the
                         creditors;

                ii.      review, reconcile, compromise, settle, or object to Administrative Claims
                         (including Professional Fee Claims, Administrative Tax Claims, and
                         Priority Tax Claims) and Claims in Class 2, Class 3, and Class 4 and
                         resolve such objections as set forth in the Plan;

                iii.     calculate the amount of Distributions to be made to holders of Allowed
                         Administrative Claims (including Professional Claims, Administrative
                         Tax Claims, and Priority Tax Claims) and Allowed Claims in Class 2,
                         Class 3, Class 4, and Class 5 Claims in accordance with the Plan, and use
                         cash funds to make Distributions in accordance with the Plan;

                iv.      review, reconcile, enforce, collect, compromise, settle, or elect not to
                         pursue any or all Causes of Action, Avoidance Actions and Preserved
                         Claims or similar actions;

                v.       provide a quarterly report to a three (3) person consultative committee of
                         unsecured creditors as established in section 10.2, identifying Causes of
                         Action, Avoidance Actions and Preserved Claims or similar actions that
                         were pursued, settled and/or compromised;

                vi.      retain, compensate, and employ Professionals and other Persons to
                         represent the Plan Administrator with respect to and in connection with its
                         rights and responsibilities;

                vii.     establish, maintain, and administer all documents and accounts of the
                         Liquidating Debtor as appropriate, which shall be segregated to the extent
                         appropriate in accordance with the Plan;

                viii.    maintain, conserve, supervise, prosecute, collect, settle, and protect the
                         Revested Assets (subject to the limitations described herein);

                ix.      sell, liquidate, transfer, assign, distribute, abandon, or otherwise dispose of
                         the Revested Assets or any part thereof upon such terms as the Plan
                         Administrator determines to be necessary, appropriate, or desirable in its
                         sole discretion;

                x.       invest cash funds of the Liquidating Debtor and the Estate, including any
                         cash realized from the liquidation of the Revested Assets;

                xi.      pay the Plan Administration Expenses;




                                               15
Case 17-30112         Doc 773   Filed 07/03/18 Entered 07/03/18 16:40:19             Desc Main
                                Document      Page 16 of 52



                xii.     the winding down of the remaining affairs of the Debtor (including, to the
                         extent not already terminated, the 401K and other employee health and
                         benefit plans of the Debtor);

                xiii.    prepare and file any and all informational returns, reports, statements,
                         returns, and other documents or disclosures relating to the Debtor or the
                         Liquidating Debtor that are required under the Plan, by any governmental
                         unit, or by applicable law;

                xiv.     take such actions as are necessary or appropriate to close or dismiss the
                         Chapter 11 case;

                xv.      comply with the Plan, exercise the Plan Administrator’s rights, and
                         perform the Plan Administrator’s obligations;

                xvi.     exercise such other powers as deemed by the Plan Administrator to be
                         necessary and proper to implement the provisions of the Plan;

                xvii.    execute any and all documents and instruments necessary to effectuate the
                         provisions of the Plan;

                xviii. amendment of any Liquidating Debtor’s organizational documents and
                       dissolution of the Liquidating Debtor under applicable state law; and

                xix.     To the extent necessary to give full effect to its exclusive administrative
                         rights and duties under the Plan, the Plan Administrator shall be deemed to
                         be vested with all rights, powers, privileges, and authorities of (i) a board
                         of directors or an appropriate corporate officer of the Liquidating Debtor
                         under any applicable non-bankruptcy law and (ii) a “trustee” of the
                         Liquidating Debtor under sections 704 and 1106 of the Bankruptcy Code.

       d.       Tax Reporting.

                i.       The Plan Administrator shall file any and all tax returns for the
                         Liquidating Debtor and the Estate, as applicable, provided however, the
                         Plan Administrator shall have no personal liability for the signing or
                         accuracy of the Debtor’s or Liquidating Debtor’s tax returns that are due
                         to be filed after the Effective Date or for any tax liability related thereto.

                ii.      The Plan Administrator shall be responsible for payment, out of the
                         Revested Assets, of any taxes imposed on the Liquidating Debtor or the
                         Revested Assets.

                iii.     The Plan Administrator shall distribute such tax-related notices to the
                         applicable holders of Allowed Claims as the Plan Administrator
                         determines are necessary or desirable.




                                               16
Case 17-30112      Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19              Desc Main
                               Document      Page 17 of 52



         e.    Disbursing Agent. The Plan Administrator shall serve as the disbursing agent for
 all Allowed Claims under the Plan.

        f.      Preservation of All Causes of Action, Avoidance Actions, and Preserved Claims.
 The Plan Administrator shall have the exclusive right, on behalf of the Estate, to institute, file,
 prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all Causes of
 Action, Avoidance Actions and Preserved Claims without any further order of the Bankruptcy
 Court. From and after the Effective Date, the Plan Administrator, in accordance with section
 1123(b)(3) of the Bankruptcy Code, shall serve as a representative of the Estate with respect to
 any and all Causes of Action, Avoidance Actions, and Preserved Claims and shall retain and
 possess the right to commence, pursue, settle, compromise, or abandon, as appropriate, any and
 all Causes of Acton, Avoidance Actions, and Preserved Claims in any court or other tribunal.

         g.      Removal of the Plan Administrator. The Plan Administrator may be removed for
 cause, as determined by an order of the Bankruptcy Court pursuant to a regularly-noticed motion
 by a party in interest in the Chapter 11 case.

        h.     Resignation of the Plan Administrator. The Plan Administrator may resign by
 giving not less than thirty (30) calendar days’ prior notice thereof in a notice filed in the
 Chapter 11 case.

         i.      Successor Plan Administrator. In the event the Plan Administrator is removed or
 resigns, or if the Plan Administrator otherwise vacates the position, a successor Plan
 Administrator shall be appointed by a majority vote of the members of the Post-Confirmation
 Advisory Committee. Any successor Plan Administrator appointed hereunder shall execute an
 instrument accepting such appointment and shall deliver such acceptance to the Bankruptcy
 Court. Thereupon, such successor Plan Administrator shall, without any further act, become
 vested with all the estates, properties, rights, powers, trusts, and duties of the predecessor Plan
 Administrator with like effect as if originally named herein; provided, however, that a removed
 or resigning Plan Administrator shall, nevertheless, when requested in writing by the successor
 Plan Administrator, execute and deliver any reasonable instrument or instruments conveying and
 transferring to such successor Plan Administrator all the estates, properties, rights, powers, trusts,
 and duties of such removed or resigning Plan Administrator.

       j.      Termination of the Plan Administrator. The Plan Administrator’s role as Plan
 Administrator shall be terminated on the Wind Down End Date.

         k.     Limitation of Liability. No recourse will ever be had, directly or indirectly,
 against the Plan Administrator personally, or against any employee, contractor, agent, attorney,
 accountant or other professional retained in accordance with the terms of the Plan by the Plan
 Administrator (“Administrator’s Professionals”), by legal or equitable proceedings or by virtue
 of any statute or otherwise, nor upon any promise, contract, instrument, undertaking, obligation,
 covenant or agreement executed by the Plan Administrator in implementation of the Plan, or by
 reason of the creation of any indebtedness by the Plan Administrator under the Plan for any
 purpose authorized by the Plan. All such liabilities or covenants, whether in writing or otherwise,
 shall be enforceable only against and be satisfied only out of the Estate Assets, and the Plan
 Administrator and Administrator’s Professionals shall have no personal liability to satisfy any


                                              17
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19            Desc Main
                                     Document      Page 18 of 52



       such liability. The Plan Administrator and the Administrator’s Professionals shall not be deemed
       to be the agent for any holder of a Claim in connection with Distributions made under this Plan.
       The Plan Administrator and the Administrator’s Professionals will not be liable for any action
       they may do, or omit to do, hereunder in good faith and in the exercise of their sound judgment;
       provided however, the Plan Administrator and the Administrator’s Professionals may be held
       liable for recklessness, gross negligence, willful misconduct, knowing and material violation of
       law, breach of fiduciary duty, or fraud. The Plan Administrator shall enjoy all of the rights,
       powers, immunities, and privileges available to a Chapter 7 trustee.

               l.      Indemnification. The Liquidating Debtor shall defend, indemnify and hold the
       Plan Administrator, its officers, directors, agents, representatives, and employees harmless to the
       fullest extent that a corporation or trust organized under the laws of North Dakota is entitled to
       indemnify and defend its officers, directors, agents, and employees against any and all liabilities,
       expenses, claims, damages or losses incurred by them in the performance of their duties
       hereunder, provided that the Plan Administrator shall not be indemnified or defended in any way
       or held harmless for any liability, expense, claim, damage or loss for which he or she is
       ultimately liable.

                              ARTICLE VIII.
       PROVISIONS GOVERNING OBJECTIONS TO CLAIMS AND DISTRIBUTIONS

        8.1     Claims Administration Responsibility. The Plan Administrator shall retain sole
responsibility for administering, disputing, objecting to, compromising or otherwise resolving issues
related to Distributions to holders of all Claims.

        8.2    Resolution of Disputed Claims Exceeding $250,000. On and after the Effective Date,
the Plan Administrator shall have the authority to compromise, settle, otherwise resolve, or withdraw
any objections to Administrative Claims or Claims and to compromise, settle, or otherwise resolve any
disputed Administrative Claims and Disputed Claims without approval of the Bankruptcy Court, other
than with respect to Administrative Claims relating to compensation of Professionals. Notwithstanding
the foregoing, the Plan Administrator shall not have the authority to compromise, settle, or otherwise
resolve any Disputed Claims where the Face Amount of such Disputed Claim exceeds $250,000 or any
Statutory Insider administrative claims without the majority agreement of the Post-Confirmation
Advisory Committee, if said committee can be formed, and subject to Bankruptcy Court approval if the
compromise or settlement is not approved by a majority of the Post-Confirmation Advisory Committee.

        8.3     Interest on Claims. Unless otherwise specifically provided for in the Plan or
Confirmation Order, or as required by section 506 of the Bankruptcy Code, post-Petition Date interest
shall not accrue or be paid on Claims, and no Claimholder shall be entitled to interest accruing on or
after the Petition Date on any Claim. Interest shall not accrue or be paid upon any Disputed Claim in
respect of the period from the Petition Date to the date a final Distribution is made thereon if and after
such Disputed Claim becomes an Allowed Claim.

        8.4    Withholding, Payment and Reporting Requirements Regarding Distributions. All
Distributions under the Plan shall, to the extent applicable, comply with all tax withholding, payment
and reporting requirements imposed by any federal, state, provincial, local or foreign taxing authority,
and all Distributions shall be subject to any such withholding, payment and reporting requirements. The


                                                   18
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19            Desc Main
                                     Document      Page 19 of 52



Plan Administrator shall be authorized to take any and all actions that may be necessary or appropriate
to comply with such withholding, payment and reporting requirements including requiring each
Claimholder to provide a completed Form W-9 (or, if applicable, Form W-8) as set forth in Section 8.4
of this Plan. Notwithstanding any other provision of the Plan, (i) each Claimholder of an Allowed Claim
that is to receive a Distribution pursuant to the Plan shall have sole and exclusive responsibility for the
satisfaction and payment of any tax obligations imposed by a governmental unit, including income,
withholding and other tax obligations on account of such Distribution, and including, in the case of a
holder of a Disputed Claim that has become an Allowed Claim, any tax obligation that would be
imposed on the Revested Assets or Liquidating Debtor, as applicable, in connection with such
Distribution, and (ii) no Distribution shall be made to or on behalf of such holder pursuant to the Plan
unless and until such holder has made arrangements reasonably satisfactory to the Plan Administrator, as
applicable, for the payment and satisfaction of such withholding tax obligations or such tax obligation
that would be imposed in connection with such Distribution.

        8.5    Payments and Distributions With Respect to Class 4; Claims Reserve. On the
Effective Date, the Plan Administrator shall establish the Claims Reserve. The Claims Reserve shall vest
in the Plan Administrator and shall be maintained by the Plan Administrator in accordance with the
Plan. Any recovery from Causes of Action, Avoidance Actions or Preserved Claims will be included in
the Claims Reserve.

        The Plan Administrator shall hold the Claims Reserve for the benefit of holders of Class 4
Creditors whose Claims are Allowed and for the benefit of other parties entitled thereto under the Plan.
The amount of the Claims Reserve will be equal to the funds held in the Debtor in Possession account as
of the Effective Date, less the amounts on reserve for Plan Administration Expenses, Allowed
Administrative Claims as set forth in Article IV above (including Professional Fee Claims,
Administrative Tax Claims and Priority Tax Claims) and Allowed Class 2 and Allowed Class 3 Claims
multiplied by the percentage that represents the Face Amount of Class 4 Claims compared to the amount
of Class 4 Claims Allowed as of the Effective Date. Upon the allowance of any Class 4 Claims a
Distribution on said Claims will be made from the Claims Reserve equal to the percentage Pro Rata
distribution received by Class 4 Claims as a result of the First Interim Distribution and any Subsequent
Interim Distributions. Allowed Claims in Class 4 shall be paid Pro Rata based on the aggregate Face
Amount of all Allowed Class 4 Claims. For the avoidance of doubt, all Claimholders in Class 4 will
receive the same percentage Pro Rata distribution under the Plan.

        Notwithstanding anything in the Plan to the contrary, if any portion of a Claim is a Disputed
Claim, no payment or distribution provided under the Plan shall be made on that portion of the Claim
that is Disputed unless and until such portion is Allowed.

        8.6     Delivery of Distributions. Distributions to holders of Allowed Claims, other than
Professional Fee Claims, shall be delivered by the Plan Administrator, (a) to the addresses set forth on
the proofs of claim filed by such Claimholders (or the address reflected in the Schedules if no proof of
claim is filed), (b) to the addresses set forth in any written notices of address changes delivered to the
Plan Administrator and filed with the Bankruptcy Court after the date of any related proof of claim, or
(c) in the case of a Claimholder whose Claim is governed by an agreement and is administered by an
agent or servicer, to the agent or servicer which shall then be responsible for making delivery of the
Distribution to such Claimholder.



                                                    19
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19            Desc Main
                                     Document      Page 20 of 52



       8.7     Uncashed Checks. Cash payments in the form of checks shall be null and void if not
cashed within sixty (60) calendar days after the date of issuance. Distributions in respect of such voided
checks shall be treated as unclaimed or undeliverable Distributions as provided in Section 8.8 of the
Plan. Requests for reissuance of any check must be made in writing to the Plan Administrator by the
Claimholder that originally was issued such check, which request shall be made within sixty (60)
calendar days after the date of issuance thereof.

        8.8     Unclaimed or Undeliverable Distributions. If the Distribution of any Claimholder,
other than Professional Fee Claims, is returned as undeliverable, no further Distributions to such
Claimholder shall be made unless and until the Plan Administrator is notified of such Claimholder’s
then-current address, provided, however, that unless a Claimholder asserts a claim for an undeliverable
Distribution within 60 days after such Distribution is returned as undeliverable, such Distribution shall
be deemed unclaimed property under section 347(b) of the Bankruptcy Code and all title to and
beneficial interest in such undeliverable Distribution shall revert to and/or remain in either the Revested
Assets automatically and without any need for further order by the Bankruptcy Court for all purposes,
including for redistribution to other holders of Allowed Claims, notwithstanding any federal, provincial
or state escheat, abandoned or unclaimed property laws to the contrary. If a Claimholder timely provides
the Plan Administrator the necessary information within the period specified herein, all missed
Distributions shall be made to the Claimholder as soon as is practicable, without interest.

       8.9    Minimum Distribution. Notwithstanding any other provision of the Plan, the Plan
Administrator or other disbursing agent will not be required to make Distributions of Cash less than
$50.00 in value with the exception of Claimholders in Class 3 – Convenience General Unsecured
Claims.

        8.10 Manner of Payment Under this Plan. The Distributions made pursuant to this Plan
shall be made by checks drawn on domestic banks selected by the Plan Administrator or in the Plan
Administrator’s sole discretion, by wire transfer from a domestic bank selected by the Plan
Administrator.

        8.11 Post-Final Distribution Assets. Any assets received by the Plan Administrator after the
final Distribution is made shall be distributed Pro Rata to the holders of Class 4 Allowed Claims unless
the Plan Administrator determines, in his, her or its discretion following consultation with the Post-
Confirmation Advisory Committee, that the remaining Revested Assets are insufficient or it is otherwise
impracticable to make any further or supplemental Distribution, in which case such assets may be
donated to Legal Services of North Dakota.

                                    ARTICLE IX.
                    RETENTION OF COUNSEL BY PLAN ADMINISTRATOR

         9.1     Retention of Counsel. On and after the Effective Date, the Plan Administrator shall
retain the counsel as necessary and appropriate to analyze, object to, and/or prosecute the Claims,
Causes of Action, and to take such other actions as are required to permit the Plan Administrator to
fulfill his or her duties under the Plan.




                                                    20
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19            Desc Main
                                     Document      Page 21 of 52



                                  ARTICLE X.
           SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

        10.1 Compromise and Settlement of Claims, Interests and Controversies. Pursuant to
section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the
Distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute
a good faith compromise of all Claims, Equity Interest, and controversies relating to the contractual,
legal and subordination rights that a holder of a Claim may have with respect to any Allowed Claim or
any Distribution to be made on account of such Allowed Claim with the effective date of the
compromise of any Claim being the date of the final Distribution on the same, The entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or settlement of
all such Claims, Equity Interests and controversies, as well as a finding by the Bankruptcy Court that
such compromise or settlement is in the best interest of the Debtor, its Estate and Claimholders, and is
fair, equitable and reasonable. In accordance with the provisions of the Plan, pursuant to section 363 of
the Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice to or action, order or
approval of the Bankruptcy Court, after the Effective Date, the Plan Administrator may compromise and
settle Claims against the Debtor and Causes of Action against other Persons including Statutory Insiders,
subject to the provisions of Sections 8.2 and 10.2.

       10.2 Post-Confirmation Advisory Committee. Within ten (10) days after entry of the
Confirmation Order, a Post-Confirmation Advisory Committee will be formed (consisting of the current
Creditors’ Committee members and B.E. Capital Management) to serve in an advisory capacity to the
Plan Administrator. In the event a committee member is unwilling or unable to continue serving on the
Post-Confirmation Advisory Committee, the remaining members will appoint a new member. The Post-
Confirmation Advisory Committee members will agree to serve free of charge and may retain counsel at
their own cost which shall not be passed along to the Debtor’s Estate. The Plan Administrator will
provide a quarterly report to the Post-Confirmation Advisory Committee consisting of the following
information at a minimum: identification of Causes of Action (including Avoidance Actions and
Preserved Claims) to be pursued or abandoned, funds received or disbursed, and settlements of Disputed
Claims. The Plan Administrator will consult and receive the majority approval of the Post-Confirmation
Advisory Committee members as to any compromise, settlement, abandonment, or sale of assets
including any Causes of Action or Claims, and the resolution of all Claims or Causes of Action where
the amount exceeds $250,000 or any Staturory Insider related Claim or Cause of Action that has not
been released. Any dispute between the Plan Administrator and the Post-Confirmation Advisory
Committee will be resolved by the Bankruptcy Court.

        10.3 Settlement with Statutory Insiders and Related Parties. The Debtor, the Creditors’
Committee, and various Statutory Insiders and related parties participated in a mediation on June 19,
2018. The Statutory Insiders and related parties participating in the mediation included Vanity, Inc.,
Apparel Real Estate LLP, Barrier Lakes Investments, LLC, Boothill Corporation, Bottrell Family
Investments, LP, Diamond B Companies, Inc., Diamond B Technology Solutions, LLC, Parsec Data
Management, Inc., Sales Floor Live, LLC, Shazzam!, Inc., TGC, LP, Treco Constructors, Inc., Bottrell,
Thompson, Hull, Hauff, Donarski, Knoll, Andrews, Gust & Andrews, P.C. (doing business as Anderson,
Bottrell, Sanden & Thompson), the Estate of Don Bottrell, Teresa Bottrell, Marnie Bennett (formerly
known as Marnie Kimbrough), James Bennett, Colette Anderson-Bottrell, Lowell Bottrell, Stephen J.
Anderson, and Stephen J. Anderson IRA. The mediation resulted in settlement of the Proof of Claim No.
281 for TGC, LP by reducing its unsecured claim from $5,248,777.43 to $2,850,000, the payment of


                                                    21
     Case 17-30112        Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19              Desc Main
                                      Document      Page 22 of 52



$170,000 by Vanity, Inc. to the Debtor, and the inclusion of various other terms and conditions in this
Plan. As consideration for the settlement, the Statutory Insiders and related parties will receive a release
of claims. The complete terms of the settlement will be set forth in a Motion to Approve the Related
Party Settlement, Additional Debtor Chapter 11 Plan Terms, and Release Agreement that will be filed
with the Bankruptcy Court and are fully incorporated herein by reference. A copy of the motion and the
settlement documents may be obtained by contacting Debtor’s counsel.

        10.4 Release of Liens. Except as otherwise provided in the Plan or in any contract,
instrument, release or other agreement or document created pursuant to the Plan, on the Effective Date
and concurrently with the applicable Distributions made pursuant to the Plan, all liens, pledges, or other
security interests against any property of the Estate shall be fully released, and all of the right, title and
interest of any holder of such lien, pledges or other security interest shall revert to the Estate and its
successors and assigns.

     10.5 Release and Exculpation. EFFECTIVE AS OF THE EFFECTIVE DATE,
NEITHER THE DEBTOR, THE PLAN ADMINISTRATOR, THE CREDITORS’
COMMITTEE, NOR ANY OF THEIR RESPECTIVE AGENTS, MEMBERS, OFFICERS,
DIRECTORS, SHAREHOLDERS, EMPLOYEES AND OTHER AGENTS, ADVISORS OR
PROFESSIONALS (EACH AN “INDEMNIFIED PERSON”) SHALL HAVE OR INCUR ANY
LIABILITY TO ANY CLAIMHOLDER OR INTERESTHOLDER OR TO ANY OTHER
PERSON FOR ANY POST-PETITION CONDUCT, OR FOR ACT TAKEN OR OMISSION
MADE IN GOOD FAITH IN CONNECTION WITH OR ARISING OUT OF THE
NEGOTIATION, PREPARATION AND PURSUIT OF CONFIRMAITON OF THIS PLAN,
THE APPROVAL OF THE DISCLOSURE STATEMENT, THE CONSUMMATION OF THIS
PLAN, THE ADMINISTRATION OF THIS PLAN, THE CHAPTER 11 CASE OR THE
PROPERTY TO BE DISTRIBUTED UNDER THIS PLAN, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE STATUTORY AND CASE LAW EXCEPT THE PLAN
ADMINISTRATOR SHALL BE LIABLE FOR THE PERFORMANCE OF OBLIGATIONS
ASSUMED BY IT OR IMPOSED UPON IT UNDER OR BY THIS PLAN.

       10.6 Liabilities to, and Rights of, Governmental Units. Nothing in the Plan or
Confirmation Order shall release, or preclude: (1) any liability to a Governmental Unit that is not a
Claim; (2) any Claim of a Governmental Unit arising on or after the Effective Date; (3) any liability to
a Governmental Unit on the part of any Person or Entity other than the Debtor or Plan Administrator;
(4) any valid right of setoff or recoupment by a Governmental Unit; or (5) any criminal liability.
Nothing in the Plan or Confirmation Order shall enjoin or otherwise bar any Governmental Unit
from asserting or enforcing, outside the Bankruptcy Court, any liability described in the preceding
sentence. The injunction provisions contained in the Plan and Confirmation Order are not intended
and shall not be construed to bar any Governmental Unit from, after the Effective Date, pursuing
any police or regulatory action.

     10.7 Injunction. FROM AND AFTER THE EFFECTIVE DATE, EXCEPT AS
OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR RELATED DOCUMENTS, ALL
ENTITIES ARE PERMANENTLY ENJOINED FROM COMMENCING OR CONTINUING IN
ANY MANNER, ANY CAUSE OF ACTION RELEASED OR TO BE RELEASED PURSUANT
TO THE PLAN OR THE CONFIRMATION ORDER. EXCEPT AS OTHERWISE EXPRESSLY
PROVIDED IN THE PLAN OR RELATED DOCUMENTS, OR IN OBLIGATIONS ISSUED


                                                     22
     Case 17-30112       Doc 773    Filed 07/03/18 Entered 07/03/18 16:40:19            Desc Main
                                    Document      Page 23 of 52



PURSUANT TO THE PLAN, ALL ENTITIES WHO HAVE HELD, HOLD OR MAY HOLD
CLAIMS OR EQUITY INTERESTS THAT HAVE BEEN RELEASED PURSUANT TO
SECTION 10.5 OF THE PLAN, ARE PERMANENTLY ENJOINED, FROM AND AFTER THE
EFFECTIVE DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS: (1)
COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH
RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (2) ENFORCING, ATTACHING,
COLLECTING OR RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT,
AWARD, DECREE OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (3)
CREATING, PERFECTING OR ENFORCING ANY ENCUMBRANCE OF ANY KIND
AGAINST SUCH ENTITIES OR THE PROPERTY OR ESTATE OF SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS
OR INTERESTS; (4) ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR
RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH ENTITIES
OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS
UNLESS (A) SUCH CLAIMHOLDER HAS FILED A MOTION REQUESTING THE RIGHT
TO PERFORM SUCH SETOFF ON OR BEFORE THE EFFECTIVE DATE, (B) SUCH
CLAIMHOLDER INDICATED IN A TIMELY FILED PROOF OF CLAIM OR INTEREST
THAT IT ASSERTS, HAS, OR INTENDS TO PRESERVE A RIGHT OF SETOFF, OR (C)
SUCH CLAIMHOLDER IS A PARTY TO A NON-RESIDENTIAL REAL PROPERTY LEASE
IN WHICH SUCH CLAIMHOLDER IS GRANTED A RIGHT OF SETOFF AND
AFFIRMATIVELY ASSERTS THE RIGHT TO SETOFF AS A DEFENSE OR IN A CLAIM
OBJECTION CONTESTED MATTER; AND (5) COMMENCING OR CONTINUING IN ANY
MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR
IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR EQUITY
INTERESTS RELEASED OR SETTLED PURSUANT TO THE PLAN.

     10.8 ALL ENTITIES SHALL BE PRECLUDED FROM ASSERTING AGAINST THE
DEBTOR, THE DEBTOR’S ESTATE, THE CREDITORS’ COMMITTEE THE PLAN
ADMINISTRATOR, EACH OF THEIR RESPECTIVE SUCCESSORS AND ASSIGNS AND
EACH OF THEIR ASSETS AND PROPERTIES, ANY OTHER CLAIMS OR INTERESTS
BASED UPON ANY DOCUMENTS, INSTRUMENTS OR ANY ACT OR OMISSION,
TRANSACTION OR OTHER ACTIVITY OF ANY KIND OR NATURE THAT OCCURRED
BEFORE THE EFFECTIVE DATE. WITHOUT LIMITING THE GENERALITY OF THE
FOREGOING, ON OR AFTER THE EFFECTIVE DATE, EXCEPT AS OTHERWISE
PROVIDED HEREIN OR IN A PRIOR ORDER OF THE BANKRUPTCY COURT, A CLAIM
MAY NOT BE FILED OR AMENDED WITHOUT THE PRIOR AUTHORIZATION OF THE
BANKRUPTCY COURT OR THE CONSENT OF THE PLAN ADMINISTRATOR. ABSENT
SUCH AUTHORIZATION OR CONSENT, ANY NEW OR AMENDED CLAIM FILED SHALL
BE DEEMED DISALLOWED IN FULL AND EXPUNGED WITHOUT FURTHER ORDER OF
THE BANKRUPTCY COURT.

       10.9 Term of Injunctions or Stays. Unless otherwise provided in the Plan or in the
Confirmation Order, all injunctions or stays in effect in the Chapter 11 case pursuant to sections 105 or
362 of the Bankruptcy Code or any order of the Bankruptcy Court, and extant on the Confirmation Date


                                                   23
     Case 17-30112       Doc 773      Filed 07/03/18 Entered 07/03/18 16:40:19             Desc Main
                                      Document      Page 24 of 52



(excluding any injunctions or stays contained in the Plan or the Confirmation Order), shall remain in full
force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

        10.10 Compromises and Settlements. Pursuant to Bankruptcy Rule 9019(a), the Debtor may
compromise and settle various (a) Claims against it, and (b) Causes of Action that it may have against
other Persons. The Debtor expressly reserves the right (with Bankruptcy Court approval, following
appropriate notice and opportunity for a hearing) to compromise and settle up to and including the
Effective Date, Claims against it and Causes of Action that it may have against other Persons. After the
Effective Date, such right shall pass exclusively to the Plan Administrator to which such claims shall be
conveyed pursuant to the Plan.

        10.11 Cancellation of Agreements. On the Effective Date, except to the extent of a right to
receive a Distribution under this Plan and as otherwise provided herein, any note, bond, indenture or
other instrument or document evidencing or creating any indebtedness or obligation of the Debtor shall
be deemed automatically cancelled; provided, however, that each agreement that governs the rights of
the Claimholder and that is administered by an agent or a servicer, shall continue in effect solely for the
purposes of allowing such agent or servicer to make the Distributions to be made on account of such
Claims or Equity Interests under the Plan.

        10.12 Objections to Claims. Subsequent to the Effective Date, the Plan Administrator will
have the right to object to the allowance of any Claim. Such objections, if any, will be filed with the
Bankruptcy Court no later than the first Business Day that is 180 calendar days after the Effective Date
(the “Claim Objection Deadline”). The Claim Objection Deadline may be extended one or more times
by the Bankruptcy Court. The failure by the Debtor, Liquidating Debtor or the Plan Administrator to
object to, or examine, any Claim or Equity Interest for purposes of voting shall not be deemed a waiver
of any such entities’ right to object to (to the extent of any Claim that is not expressly Allowed in the
Plan) or reexamine the Claim or Equity Interest in whole or in part for any other purpose, including but
not limited to, distribution of property. The Debtor’s classification of Claims in the Plan is not
dispositive of the validity of the Claims, and Claims shall be deemed valid unless and until a claim
objection is filed and by the Debtor, the Liquidating Debtor, or the Plan Administrator. The Debtor, the
Liquidating Debtor, the Plan Administrator, and Claimholders reserve all rights and defenses in the
context of a claim objection contested matter.

        10.13 Setoff. Notwithstanding anything herein, in no event shall any Claimholder be entitled to
setoff any Claim against any claim, right, or cause of action of the Debtor, unless such Claimholder
preserves its right to set off by (i) including in a timely-filed proof of claim that it intends to preserve
any right of setoff pursuant to section 553 of the Bankruptcy Code or otherwise, (ii) filing a motion for
authority to effect such setoff on or before the Effective Date (regardless of whether such motion is
heard prior to or after the Effective Date), or (iii) asserting the right of setoff in the context of a claim
objection contested matter.

                                          ARTICLE XI.
                                     CONDITIONS PRECEDENT

        11.1 Conditions to Confirmation. The following are conditions precedent to confirmation of
the Plan that may be satisfied or waived in accordance with Section 11.3 of the Plan:


                                                     24
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19             Desc Main
                                     Document      Page 25 of 52



       a.      The Plan and Confirmation Order shall be in form and substance reasonably acceptable to
               the Debtor;

       b.      The Plan Supplement shall have been filed;

       c.      The Plan Administrator shall have been selected and shall have indicated his or her
               agreement to serve under the terms of the Plan; and

       d.      The Bankruptcy Court’s approval of the Related Party Settlement, Additional Debtor
               Chapter 11 Plan Terms, and Release Agreement.

        11.2 Conditions to Effective Date. The following are conditions precedent to the occurrence
of the Effective Date, each of which may be satisfied or waived in accordance with Section 11.3 of the
Plan:

       a.      The Confirmation Order shall have been entered by the Bankruptcy Court and such
               Confirmation Order and have become a Final Order (unless the Final Order requirement
               is waived by the Debtor); and

       b.      No stay shall be in effect with respect to the Confirmation Order.

        11.3 Waiver of Conditions to Confirmation and Effective Date. The conditions set forth in
Sections 11.1 and 11.2 of the Plan (with the single exception of Section 11.1(d)) may be waived by the
Debtor, without any notice to any other parties in interest or the Bankruptcy Court and without a
hearing. The failure to satisfy or waive any condition to the Confirmation Date or the Effective Date
may be asserted by the Debtor regardless of the circumstances giving rise to the failure of such condition
to be satisfied (including any action or inaction by the Debtor). The failure of the Debtor to exercise any
of the foregoing rights shall not be deemed a waiver of any other rights, and each such right shall be
deemed an ongoing right, which may be asserted at any time.

                                        ARTICLE XII.
                                  RETENTION OF JURISDICTION

       12.1 Pursuant to sections 105(a) and 1142 of the Bankruptcy Code, the Bankruptcy Court shall
have exclusive jurisdiction of all matters arising out of, and related to, the Chapter 11 case and the Plan,
including, among other things, the following matters:

       a.      to hear and determine pending motions for the assumption and assignment of or rejection
               of executory contracts or unexpired leases to which the Debtor is a party or with respect
               to which the Debtor may be liable, and to hear and determine the allowance of Claims
               resulting therefrom;

       b.      to adjudicate any and all adversary proceedings, applications and contested matters that
               may be commenced or maintained pursuant to the Chapter 11 case or the Plan, including,
               without limitation, any actions to recover any transfers, assets, properties or damages to
               which the Debtor may be entitled under applicable contract provisions, the provisions of
               this Plan or under applicable provisions of the Bankruptcy Code or any other federal,
               state or local laws;


                                                    25
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19           Desc Main
                                     Document      Page 26 of 52



       c.      to ensure that Distributions to Allowed Claimholders are accomplished as provided
               herein;

       d.      to hear and determine any and all objections to the allowance or estimation of Claims
               filed both before and after the Confirmation Date, including any objections to the
               classification of any Claim or Equity Interest, and to allow or disallow any Claim in
               whole or in part;

       e.      to determine requests for the payment of Claims entitled to priority under section
               507(a)(2) of the Bankruptcy Code, including compensation of and reimbursement of
               expenses of parties entitled thereto;

       f.      to enter and implement such orders as may be appropriate if the Confirmation Order is
               for any reason stayed, revoked, modified or vacated;

       g.      to hear and determine disputes arising in connection with the interpretation,
               implementation or enforcement of the Plan, including disputes arising under agreements,
               documents or instruments executed in connection with the Plan or regarding the rights of
               the Plan Administrator;

       h.      to issue orders in aid of execution, implementation or consummation of the Plan;

       i.      to consider any modifications of the Plan, to cure any defect or omission, or to reconcile
               any inconsistency in any order of the Bankruptcy Court, including, without limitation, the
               Confirmation Order;

       j.      to hear and determine all applications for compensation and reimbursement of
               Professional Claims under the Plan or under sections 330, 331, 503(b), 1103 and
               1129(a)(4) of the Bankruptcy Code;

       k.      to hear and determine matters concerning state, local and federal taxes in accordance with
               sections 346, 505 and 1146 of the Bankruptcy Code;

       l.      to hear any other matter not inconsistent with the Bankruptcy Code;

       m.      to hear and determine all disputes involving the existence, nature or scope of the releases
               provided for in the Plan;

       n.      to hear and determine any Claims of or against the Debtor;

       o.      to enforce all orders previously entered by the Bankruptcy Court; and

       p.      to enter a final decree closing the Chapter 11 case.

       Notwithstanding anything contained herein to the contrary, the Bankruptcy Court retains
exclusive jurisdiction to hear and determine disputes concerning Claims, Equity Interests, Causes of
Action, Avoidance Actions, Preserved Claims and any motions to compromise or settle such disputes.
Despite the foregoing, if the Bankruptcy Court is determined not to have jurisdiction with respect to the


                                                    26
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19           Desc Main
                                     Document      Page 27 of 52



foregoing, or if the Plan Administrator chooses to pursue any Causes of Action, Avoidance Action, or
Preserved Claim in another court of competent jurisdiction, the Plan Administrator will have authority to
bring such action in any other court of competent jurisdiction.

                            ARTICLE XIII.
  ACCEPTANCE OR REJECTION OF THE PLAN; EFFECT OF REJECTION BY ONE OR
           MORE IMPAIRED CLASSES OF CLAIMS OR INTERESTS

        13.1 Impaired Classes of Claims and Interests Entitled to Vote. Claimholders in each
Impaired Class of Claims are entitled to vote as a class to accept or reject the Plan. The Claims Agent
will tabulate votes on the Plan.

        13.2 Acceptance by an Impaired Class. In accordance with section 1126(c) of the
Bankruptcy Code and except as provided in section 1126(e) of the Bankruptcy Code, an Impaired Class
of Claims shall have accepted the Plan if the Plan is accepted by the holders of at least two-thirds in
dollar amount and more than one-half (½) in number of the Allowed Claims of such Class that have
timely and properly voted to accept or reject the Plan.

        13.3 Presumed Acceptances by Unimpaired Classes. Class 1 Wells Fargo is Unimpaired by
the Plan. Under section 1126(f) of the Bankruptcy Code, Wells Fargo is conclusively presumed to
accept the Plan, and Wells Fargo’s vote will not be solicited.

       13.4 Class Deemed to Reject Plan. Holders of Class 5 Equity Interests will not receive any
Distribution, are not entitled to vote on the Plan and are conclusively presumed to have rejected the Plan
pursuant to section 1126(g) of the Bankruptcy Code.

        13.5 Non-Consensual Confirmation. In the event that less than all Classes entitled to vote to
accept the Plan, the Debtor will seek Confirmation of the Plan under section 1129(b) of the Bankruptcy
Code.

        13.6 Confirmability and Severability of the Plan. The confirmation requirements of section
1129 of the Bankruptcy Code must be satisfied. A determination by the Bankruptcy Court that the Plan
is not confirmable pursuant to section 1129 of the Bankruptcy Code shall not limit or affect the Debtor’s
ability to modify the Plan to satisfy the confirmation requirements of section 1129 of the Bankruptcy
Code.

                                       ARTICLE XIV.
                                 MISCELLANEOUS PROVISIONS

        14.1 Binding Effect. The Plan shall be binding upon and inure to the benefit of the Debtor, the
Plan Administrator, all present and former Claimholders, all present Interestholders, other parties in
interest and their respective successors and assigns to the fullest extent permitted by section 1141(a) of
the Bankruptcy Code.

       14.2 Modification and Amendments. The Debtor may alter, amend or modify the Plan or
any Exhibits thereto under section 1127(a) of the Bankruptcy Code at any time prior to the Confirmation
Hearing. After the Confirmation Date and prior to the Effective Date, the Debtor, may, under section
1127(b) of the Bankruptcy Code, institute proceedings in the Bankruptcy Court to remedy any defect or


                                                   27
     Case 17-30112       Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19             Desc Main
                                     Document      Page 28 of 52



omission or reconcile any inconsistencies in the Plan, the Disclosure Statement or the Confirmation
Order, and such matters as may be necessary to carry out the purposes and effects of the Plan, so long as
such proceedings do not materially adversely affect the treatment of Claimholders or Interestholders
under the Plan; provided, however, that prior notice of such proceedings shall be served in accordance
with the Bankruptcy Rules or order of the Bankruptcy Court. From and after the Effective Date and prior
to substantial consummation of the Plan (as defined in section 1101(2) of the Bankruptcy Code), the
Plan Administrator may seek non-material modification or amendment of the Plan pursuant to this
paragraph.

        14.3 Creditors’ Committee. The Creditors' Committee shall continue in existence until the
Effective Date to exercise those powers and perform those duties specified in section 1103 of the
Bankruptcy Code, and shall perform such other duties as it may have been assigned by the Bankruptcy
Court prior to the Effective Date. From and after the Effective Date, the Creditors’ Committee shall exist
for the sole purposes of: (a) matters relating to any appeals or other challenges or matters with respect to
the Confirmation Order; (b) pursuing the Creditors’ Committee’s Professional Fee Claims; and
(c) appearing before and being heard by the Bankruptcy Court and other courts of competent jurisdiction
in connection with the above duties. Upon the conclusion of the foregoing duties, the Creditors'
Committee shall automatically dissolve and its members, Professionals and agents shall be deemed
released of all their duties, responsibilities and obligations in connection with the Chapter 11 case or the
Plan and its implementation, and the retention or employment of the Creditors’ Committee's attorneys
and other agents shall terminate. All expenses of Creditors' Committee members and the fees and
expenses of their Professionals through the Effective Date shall be paid in accordance with the terms and
conditions of this Plan and any order of the Bankruptcy Court.

       14.4 Causes of Action, Preserved Claims and Avoidance Actions. Unless otherwise
released under a prior Order of the Bankruptcy Court or under the Plan, all Causes of Action, Preserved
Claims and Avoidance Actions are hereby preserved for prosecution and enforcement by the Plan
Administrator. The Plan Administrator shall have no obligation to pursue any Causes of Action,
Preserved Claims or Avoidance Actions.

       14.5 Substantial Consummation. The Plan shall be deemed to be substantially consummated
on the first date Distributions are made in accordance with the terms of this Plan to any holders of
Allowed Claims of any Class.

       14.6 Revocation, Withdrawal or Non-Consummation Right to Revoke or Withdraw. The
Debtor reserves the right to revoke or withdraw the Plan at any time prior to the Effective Date.

        14.7 Severability of Plan Provisions. If prior to Confirmation any term or provision of this
Plan which does not govern the treatment of Claims or Equity Interests or the conditions to the Effective
Date is held by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court shall
have the power to alter and interpret such term or provision to make it valid and enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision held to be
invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of the terms
and provisions of this Plan will remain in full force and effect and will in no way be affected, impaired,
or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a



                                                    28
     Case 17-30112       Doc 773       Filed 07/03/18 Entered 07/03/18 16:40:19           Desc Main
                                       Document      Page 29 of 52



judicial determination and shall provide that each term and provision of this Plan, as it may have been
altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to its terms.

        14.8 U.S. Trustee’s Fees. All fees due and owing under 28 U.S.C. §1930 shall be paid on the
Effective Date and thereafter, as due, until the cases are closed, converted or dismissed and final
decreed, from the Revested Assets. After confirmation, the Liquidating Debtor through the Plan
Administrator will file quarterly reports in the prescribed format for each quarter or part thereof that the
Chapter 11 case remains open.

        14.9 Notices. Pursuant to Bankruptcy Rule 2002 and any applicable local Bankruptcy Rules,
notice of all Post-Effective Date matters for which notice is required to be given shall be deemed
sufficient if served upon the U.S. Trustee's Office, the Plan Administrator, counsel to the Plan
Administrator, and all persons on the Debtor’s Bankruptcy Rule 2002 service list. Any notice required
or permitted to be provided to the Debtor or the Plan Administrator under the Plan shall be in writing
and served by (a) certified mail, return receipt requested, (b) hand delivery, or (c) overnight delivery
service, to be addressed as follows:

       If to the Plan Administrator:                      If to the Post-Confirmation Advisory Committee:

       Phillip Kunkel                                     Julie Minnick Bowden
       Gray Plant Mooty Law Firm                          350 N. Orleans Street
       1010 W. St. Germain                                Suite 300
       Suite 500                                          Chicago, IL 60654-1607
       St. Cloud, MN 56301                                julie.minnick@ggp.com
       phillip.kunkel@gpmlaw.com

       with a copy to:

       Jon Brakke
       Caren Stanley
       Vogel Law Firm
       218 NP Ave.
       Fargo, ND 58107
       jbrakke@vogellaw.com
       cstanley@vogellaw.com

        14.10 Waiver and Estoppel. Each Claimholder and Interestholder shall be deemed to have
waived any right to assert that, by virtue of an agreement made with the Debtor and/or its counsel, the
Creditors’ Committee and/or its counsel, or any other party, its Claim or Equity Interest should be
allowed in a certain amount, in a certain priority, secured or not subordinated if such agreement was not
disclosed in the Plan, the Disclosure Statement or other papers filed with, or orders entered by, the
Bankruptcy Court.




                                                    29
Case 17-30112   Doc 773   Filed 07/03/18 Entered 07/03/18 16:40:19   Desc Main
                          Document      Page 31 of 52



                                 EXHIBIT A

                            (Administrative Claims)
          Case 17-30112               Doc 773         Filed 07/03/18 Entered 07/03/18 16:40:19                                  Desc Main
                                                      Document      Page 32 of 52

                                              Administrative Claims & Priority Tax Claims
                                                                 SCHEDULE E/F                      PROOF OF
 NO.                        CREDITOR NAME                                       SCHEDULED AMOUNT               DATE POC FILED     CLAIM AMOUNT
                                                                  CREDITOR #                       CLAIM NO.
ADMINISTRATIVE CLAIMS
  1 B.E. Capital Management Fund LP (Joe Benbasset Inc.)            3.301             $24,204.97     242          4/21/2017             $8,385.00
  2 B.E. Capital Management Fund LP                                                                  42           3/31/2017            $16,124.35
        (Kash Apparel)
  3 Euler Hermes Agent for Project 28 Clothing                      3.467              $1,896.00     44           3/31/2017             $3,557.50
  4 Cavalini Inc. dba Ci Sono                                       3.112            $171,430.98     233           6/6/2017           $177,004.50
  5 Edgemine Inc.                                                   3.193             $70,182.35     198          5/16/2017            $86,166.00
  6 Fantas Eyes Inc.                                                3.203             $43,452.63     300          6/30/2017           $48,856.78
  7 Lozier Corporation                                              3.343             $26,708.34     298         06/29/2017           $204,290.18
  8 Lux Accessories Ltd                                             3.345             $14,997.95     266          6/20/2017            $15,622.87
  9 Poof Apparel                                                    3.455              $9,028.44     205          5/19/2017             $5,220.00
 10 Rosenthal & Rosenthal Inc.                                                                       135           5/8/2017           $146,264.30
       *Bemine NYC, Inc. - $3,300.00
       *David & Young Group - $2,016.00
       *Fashion Ave Sweater Knits/It's Our Time - $20,400.00
       *GMA Accessories, Inc./Capelli - $25,345.00
       *Jodi Kristopher, LLC/City Triangles - $18,587.25
       *Second Generation BEBOP - $24,913.50
       *Tempted Apparel - $51,702.55
 11 Sun Ban Fashions Inc.                                           3.567              $6,245.01     275          6/22/2017             $6,368.90
PRIORITY TAX CLAIMS
 12 Arkansas: Sebastian County Tax Collector                        2.231                  $0.00     17          03/20/2017              $747.08
 13 Arkansas: Washington County Tax Collector                       2.285                  $0.00     116         05/01/2017              $629.80
 14 Colorado: El Paso Treasurer                                     2.271                  $0.00     92          04/17/2017             $1,153.06
 15 Colorado: Mesa County Treasurer                                                                                                      $511.20
 16 Colorado: Pueblo County Treasurer                                                                                                   $3,025.66
 17 Department of the Treasury - Internal Revenue Service           2.12                   $0.00     72          04/10/2017             $7,208.74
 18 Department of the Treasury - Internal Revenue Service           2.12                   $0.00     366         04/02/2018                 $0.00
 19 Idaho: Ada County Treasurer                                                                                                          $631.23
 20 Idaho: Bonneville County Treasurer                              2.19                   $0.00     21          03/20/2017              $800.34
 21 Idaho: Kootenai County Treasurer                                2.141                  $0.00     210         05/19/2017                $90.75
 22 Idaho: Twin Falls County Treasurer                                                                                                     $10.40
 23 Illinois Dept. of Employment Security                           2.111                  $0.00     362           3/6/2018              $100.00
 24 Indiana: Allen County Treasurer                                  2.5                   $0.00     195         05/16/2017              $772.80
 25 Indiana: County of Dubois                                       2.67                   $0.00     200         05/15/2017             $1,896.67
 26 Kansas: Ellis County Treasurer                                                                                                       $183.92
 27 Kansas: Saline County Treasurer                                                                                                        $44.60
 28 Missouri: Boone County Collector of Revenue                                                                                          $752.45
 29 Missouri: Collector for County of Buchanan                                                                                             $48.33
 30 Missouri: Jackson County Collector                                                                                                   $604.65
 31 Missouri: Jasper County Collector                                                                                                      $78.39
 32 Missouri: St. Charles Collector of Revenue                                                                                          $1,433.66
 33 Missouri: St. Louis County Treasurer                                                                                                 $288.76
 34 Missouri: Greene County Treasurer                                                                                                    $216.92
 35 Montana: Missoula County Clerk                                                                                                       $216.59
 36 Montana: Butte-Silver Bow Treasurer                                                                                                  $110.48
 37 Montana: Cascade County Treasurer                                                                                                    $122.53
 38 Montana: Yellowstone County Treasurer                           2.303                  $0.00     334         08/07/2017              $163.09
 39 Nebraska: Buffalo County Treasurer                                                                                                     $19.38
 40 Nebraska: Hall County Treasurer                                                                                                      $223.14
 41 Nebraska: Madison County Treasurer                                                                                                     $68.66
 42 New Mexico: Taxation & Revenue Department                       1.191                  $0.00     278         06/23/2017              $209.27
 43 New Mexico: Taxation & Revenue Department                       2.191                  $0.00     278         06/23/2017              $163.69
 44 North Carolina: Buncombe County Tax Department                                                   369          4/26/2018             $1,404.15
 45 North Carolina: Forsyth County Tax Collector                                                     361           3/5/2018             $2,275.22
 46 North Carolina: Guilford County Tax Department                                                                                      $2,773.17
 47 North Dakota: Ward County Real Estate Tax - Payable to CBL                                                                          $5,475.37
      for Dakota Square Mall
 48 Oklahoma County Treasurer                                       2.207                  $0.00      63         04/03/2017             $3,031.28
 49 Oklahoma: Tulsa County Treasurer (2016 Taxes)                   2.274                  $0.00      55         03/23/2017             $1,889.00
 50 Oklahoma: Garfield County Treasurer                                                                                                 $1,171.00
 51 Oklahoma: Tulsa County Treasurer                                                                                                    $1,623.00
          Case 17-30112               Doc 773         Filed 07/03/18 Entered 07/03/18 16:40:19                               Desc Main
                                                      Document      Page 33 of 52

                                              Administrative Claims & Priority Tax Claims
                                                              SCHEDULE E/F                      PROOF OF
 NO.                        CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED     CLAIM AMOUNT
                                                               CREDITOR #                       CLAIM NO.
 52 Tennessee: Johnson City Recorder                                                                                                    $84.00
 53 Tennessee: Montgomery County Trustee                                                                                               $220.00
 54 Tennessee: Murfreesboro City Tax Collector                                                                                          $17.00
 55 Tennessee: Rutherford County Trustee                                                                                                $38.00
 56 Tennessee: Washington County Tax Collector                                                                                         $106.12
 57 Washington: Benton County Treasurer                          2.16                   $0.00      95         04/18/2017               $365.20
 58 West Virginia: Monongalia County Treasurer                                                                                         $556.81
 59 West Virginia: Wood County Treasurer                                                                                             $1,063.30
 60 Wisconsin: City of Brookfield                                                                                                    $1,737.38
 61 Wisconsin: Village of Ashwaubenon, Green Bay                                                                                     $1,607.52
 62 Wisconsin: Brown County Treasurer                                                                                                $1,576.00
 63 Wisconsin: City of Brookfield                                2.25                   $0.00     264         06/19/2017               $383.50
 64 Wisconsin: City of Eau Claire                                                                                                      $528.44
 65 Wisconsin: City of Janesville                                                                                                      $397.04
 66 Wisconsin: City of LaCrosse                                                                                                        $681.57
 67 Wisconsin: City of Madison Treasurer                                                          346         11/13/2017             $1,562.96
 68 Wisconsin: City of Wausau                                                                                                          $192.36
 69 Wisconsin: Fond Du Lac County Treasurer                                                                                            $612.65
 70 Wisconsin: Town of Grand Chute                                                                                                     $169.17
 71 Wisconsin: Village of Greendale, Milwaukee City                                                                                    $443.96
 72 Wyoming: Larimore County Treasurer                                                                                                 $354.07
 73 Wyoming: Natrona County Treasurer                            2.184                  $0.00      12         03/13/2017               $224.72
TOTAL:                                                                            $368,146.67                                      $772,950.58
Case 17-30112   Doc 773    Filed 07/03/18 Entered 07/03/18 16:40:19   Desc Main
                           Document      Page 34 of 52



                                   EXHIBIT B

                          Class 2 (Other Secured Claims)
           Case 17-30112                  Doc 773          Filed 07/03/18 Entered 07/03/18 16:40:19                           Desc Main
                                                           Document      Page 35 of 52

                                                         Class 2 - Secured Priority Tax Claims
                                                              SCHEDULE E/F                       PROOF OF
 NO.                      CREDITOR NAME                                      SCHEDULED AMOUNT                DATE POC FILED       CLAIM AMOUNT
                                                               CREDITOR #                        CLAIM NO.
  1 Michigan: Meridian Charter Township                          2.157                   $0.00     165              05/10/2017           $561.10
  2 Michigan: City of Sterling Heights                                                                                                   $593.65
  3 Michigan: Charter Township of Flint                                                            364              03/29/2018           $368.03
  4 Michigan: City of Auburn Hills                                                                                                     $1,672.59
  5 Michigan: City of Grandville                                                                                                       $1,710.37
  6 Michigan: Frenchtown Charter Township                                                                                              $2,153.23
  7 Texas: Gregg County                                          2.102                   $0.00 106 and 347   4/24/17 & 11/14/17        $1,267.93
  8 Texas: Lubbock Central Appraisal District                    2.148                   $0.00 9 and 343     3/10/17 & 10/13/17        $1,558.46
  9 Texas: Taxing Districts Collected by Potter County           2.217                   $0.00 22 and 344    3/20/17 & 10/27/17        $4,585.14
  10 Texas: Smith County                                         2.238                   $0.00 28 and 348    3/24/17 & 11/27/17          $539.37
  11 Texas: Jefferson County                                     2.129                   $0.00 91 and 349     4/17/17 & 12/4/17        $1,800.08
  12 Texas: Tom Green County Appraisal District                  2.268                   $0.00     196              05/16/2017         $1,154.37
  13 Texas: Tyler Independent School District                                                  336 and 345    8/18/17 & 11/2/17          $757.41
  14 Texas: Midland Central Appraisal District                                                                                         $1,151.07
TOTAL:                                                                                   $0.00                                        $19,872.80
Case 17-30112   Doc 773   Filed 07/03/18 Entered 07/03/18 16:40:19   Desc Main
                          Document      Page 36 of 52



                                  EXHIBIT C

                 (Class 3 - Convenience Class Unsecured Claims)
          Case 17-30112                 Doc 773         Filed 07/03/18 Entered 07/03/18 16:40:19                                         Desc Main
                                                        Document      Page 37 of 52

                                 Class 3 - Convenience Class - General Unsecured Claims under $1,500
                                    (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                           SCHEDULE E/F                        PROOF OF
  NO.                   CREDITOR NAME                                       SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT   CLAIM AMOUNT
                                                            CREDITOR #                         CLAIM NO.


GIFT CARD HOLDERS, EMPLOYEES
   1    Abby Loss                                                     3.1                        214         05/23/2017            $30.00            $30.00
    2   Adde Schroader                                             3.501              $19.61                                                         $19.61
   3    Alexis Perez                                               3.446              $14.51                                                         $14.51
   4    Alfa Arreguin                                               3.51              $15.80                                                         $15.80
   5    Alicai Harris                                              3.254              $31.93                                                         $31.93
   6    Alyssa Sonksen                                             3.530              $32.08                                                         $32.08
   7    Amanda D. Ramsey                                              3.1                        115         04/28/2017            $25.00            $25.00
    8   Amanda Murphy                                              3.393              $16.04                                                         $16.04
   9    Amanda Thibault                                            3.589              $18.14                                                         $18.14
   10   Amber Bosset                                                3.86             $116.64                                                        $116.64
   11   Anna Gibbs                                                 3.234              $15.80                                                         $15.80
   12   Anne Wiedel                                                3.630              $36.76                                                         $36.76
   13   Annmarie Downey                                            3.181              $13.18                                                         $13.18
   14   Ashleigh Sympson                                           3.572              $13.68                                                         $13.68
   15   Ashley Smith                                               3.525             $177.66                                                        $177.66
   16   Betha Vandelft                                             3.601              $19.00                                                         $19.00
   17   Brandy Kinney                                              3.323              $16.30                                                         $16.30
   18   Breana Levins                                                 3.1                         89         04/13/2017            $26.93            $26.93
   19   Brianna Cannon                                             3.106              $10.60                                                         $10.60
   20   Britt Sorenson                                             3.531              $12.61                                                         $12.61
   21   Brittany Roesch                                               3.1                        209         05/19/2017            $42.99            $42.99
   22   Brook Bokowski                                              3.84              $20.00                                                         $20.00
   23   Carly Walsh                                                   3.1                        138         05/08/2017            $50.00            $50.00
   24   Carol Dahlinger                                            3.162              $16.95                                                         $16.95
   25   Cassandra Nguyen                                           3.408              $31.78                                                         $31.78
   26   Cassie Hoiness                                                3.1                        216         05/22/2017            $75.00            $75.00
   27   Catherine D. Meinke                                           3.1                        176         05/15/2017           $100.00           $100.00
   28   Chekila Simmon                                             3.521              $24.08                                                         $24.08
   29   Chelsie Canida                                             3.104               $3.80                                                          $3.80
   30   Chera Nichols                                                 3.1                        245         06/16/2017            $50.00            $50.00
   31   Chera Nichols                                                 3.1                        246         06/16/2017            $50.00            $50.00
   32   Cindy J Cantero                                               3.1                        276         06/23/2017            $42.83            $42.83
   33   Corene Gurno                                               3.247              $13.99                                                         $13.99
   34   Corrin McKegue                                             3.363              $20.00                                                         $20.00
   35   Courtney Seekins                                           3.508              $48.10                                                         $48.10
   36   Danielle McClure                                           3.361              $40.04                                                         $40.04
   37   Darala Magpie                                              3.348              $42.49                                                         $42.49
   38   Desiree Perez                                              3.447              $13.43                                                         $13.43
   39   Devanna Simpson                                            3.523              $13.03                                                         $13.03
   40   Domini Roberts                                             3.485              $16.15                                                         $16.15
   41   Donna Walker                                               3.614              $12.12                                                         $12.12
   42   Dorrine Gardipee                                              3.1                        231         06/05/2017            $50.00            $50.00
   43   Dusty Cissell                                              3.134              $31.25                                                         $31.25
   44   Elizabeth Johnson                                          3.306              $15.70                                                         $15.70
   45   Elsa Rivera                                                3.482              $19.42                                                         $19.42
   46   Emily Peterson                                                3.1                        220         05/26/2017           $100.00           $100.00
   47   Esperan Jaquez                                             3.287              $27.89                                                         $27.89
   48   Gina M. Pantaleo                                              3.1                         46         03/31/2017            $50.00            $50.00
   49   Hanna Shatila                                              3.513              $14.39                                                         $14.39
   50   Heather Baumgartner                                         3.65              $62.70                                                         $62.70
   51   Heather Costa                                              3.155              $13.00                                                         $13.00
   52   Heather Kluck                                              3.324              $16.66                                                         $16.66
   53   Holly Hasbrouck                                            3.257              $16.10                                                         $16.10
   54   Holly Nelson                                               3.403              $12.40                                                         $12.40
   55   Hope Woolf                                                 3.640              $10.33                                                         $10.33
   56   Jackie Timm                                                3.591              $21.09                                                         $21.09
   57   Jaiden Weston                                              3.628              $59.28                                                         $59.28
   58   Jamie Reusche                                                 3.1                        213         05/22/2017           $116.49           $116.49
   59   Jammie Ripke                                               3.481              $24.55                                                         $24.55
   60   Jasmine Scott                                              3.504              $13.29                                                         $13.29
   61   Je Christopher                                             3.132              $13.35                                                         $13.35
   62   Jenn Archibald                                              3.50              $14.20                                                         $14.20
         Case 17-30112                  Doc 773         Filed 07/03/18 Entered 07/03/18 16:40:19                                         Desc Main
                                                        Document      Page 38 of 52

                                 Class 3 - Convenience Class - General Unsecured Claims under $1,500
                                    (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                           SCHEDULE E/F                        PROOF OF
NO.                     CREDITOR NAME                                       SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT   CLAIM AMOUNT
                                                            CREDITOR #                         CLAIM NO.


 63   Jennifer Byrd                                                3.101              $23.83                                                          $23.83
 64   Jennifer Giampietro                                             3.1                         85         04/10/2017           $100.00            $100.00
 65   Jennifer Knobock                                                3.1             $50.00     353         12/27/2017            $50.00             $50.00
 66   Jessi Hoerth                                                    3.1                         94         04/17/2017            $50.00             $50.00
 67   Jessi Pfaff                                                  3.450              $26.54                                                          $26.54
 68   Jessica Hogan                                                3.266              $54.10                                                          $54.10
 69   Jessica Suitter                                                 3.1                         87         04/11/2017          $1,200.00         $1,200.00
 70   Joann Bryan                                                   3.98               $8.01                                                           $8.01
 71   Jocelyn Dorwart                                              3.180              $15.65                                                          $15.65
 72   Juanita Nelson                                               3.404             $103.28                                                         $103.28
 73   Judy Campbell                                                3.103              $24.22                                                          $24.22
 74   Judy Quinn                                                   3.471             $107.82                                                         $107.82
 75   Julia Kubicek                                                   3.1             $45.31     351         12/12/2017            $45.31             $45.31
 76   Julie Soderlund                                              3.529              $19.03                                                          $19.03
 77   Kais Kucholick                                               3.327              $15.49                                                          $15.49
 78   Kari Myers                                                   3.396              $15.49                                                          $15.49
 79   Kathleen Schutte                                                3.1                        289         06/25/2017           $100.00            $100.00
 80   Katie Harrison                                               3.255              $16.18                                                          $16.18
 81   Katie Lipscomb                                                  3.1                        244         06/16/2017            $67.33             $67.33
 82   Katie Mosgrove                                               3.384              $21.79                                                          $21.79
 83   Katie Osweiler                                                  3.1                         65         04/04/2017           $100.00            $100.00
 84   Katie Rhoden                                                 3.479              $15.88                                                          $15.88
 85   Katie Rogalla                                                3.489              $12.62                                                          $12.62
 86   Kaycee Biggs                                                  3.76             $103.74                                                         $103.74
 87   Kayci Patterson                                              3.441               $3.18                                                           $3.18
 88   Kaylon Sellers                                                  3.1                        247         06/18/2017            $50.00             $50.00
 89   Kelly Sanchez                                                3.499              $13.00                                                          $13.00
 90   Kelly Waykins                                                3.621              $21.38                                                          $21.38
 91   Kend Bettreudn                                                3.74              $16.01                                                          $16.01
 92   Kendal Maxwell                                               3.359              $13.15                                                          $13.15
 93   Kileigh Smith                                                3.526               $8.00                                                           $8.00
 94   Kimberly Mannon                                                 3.1                        177         05/15/2017           $200.00            $200.00
 95   Kneessa Booker                                                  3.1                        217         05/24/2017            $25.00             $25.00
 96   Kris Stankevitz                                              3.538               $7.38                                                           $7.38
 97   Kristie Baer                                                    3.1                        222         05/30/2017            $27.20             $27.20
 98   Kristie Binger                                                3.77              $16.50                                                          $16.50
 99   Lacy Mullins                                                 3.389              $64.15                                                          $64.15
100   LaRonica M. Tomlinson                                           3.1            $100.00     350          12/9/2017           $100.00            $100.00
101   Larry Marson                                                 3.355              $26.53                                                          $26.53
102   Leanna Chapen                                                3.126              $17.31                                                          $17.31
103   Les Bumgardner                                               3.100              $26.73                                                          $26.73
104   Leslie Young                                                 3.643              $26.48                                                          $26.48
105   Li Kruckenberg                                               3.325              $21.09                                                          $21.09
106   Linda Kefgley                                                3.319              $11.43                                                          $11.43
107   Linda Stanley                                                3.539              $26.73                                                          $26.73
108   Lindsay N Hackett                                               3.1                        321         07/03/2017           $600.00            $600.00
109   Lisa Heavilin                                                3.261              $22.00                                                          $22.00
110   Lori Thaodorf                                                3.583              $20.48                                                          $20.48
111   Mallory Stubbs                                               3.563              $20.52                                                          $20.52
112   Manda Gentry                                                 3.232              $16.26                                                          $16.26
113   Manno Becklund                                                3.67              $16.97                                                          $16.97
114   Margaret Fornero                                             3.221              $21.44                                                          $21.44
115   Megan Shreeve                                                3.519              $25.44                                                          $25.44
116   Meghan Hammond                                               3.252              $16.44                                                          $16.44
117   Melissa Sapp                                                 3.500              $11.64                                                          $11.64
118   Michael Davis                                                   3.1                        109         04/24/2017            $50.00             $50.00
119   Michael Porter                                               3.458              $32.50                                                          $32.50
120   Michelle Johnson                                             3.307              $77.29                                                          $77.29
121   Miranda Ferski                                               3.207              $14.98                                                          $14.98
122   Neka Gary                                                    3.229              $32.08                                                          $32.08
123   Nelda Wilson                                                 3.634              $25.00                                                          $25.00
124   Nicole Crader                                                   3.1             $50.00     352         12/20/2017            $50.00             $50.00
125   Nicole Taylor                                                3.575              $15.88                                                          $15.88
           Case 17-30112                  Doc 773          Filed 07/03/18 Entered 07/03/18 16:40:19                                          Desc Main
                                                           Document      Page 39 of 52

                                    Class 3 - Convenience Class - General Unsecured Claims under $1,500
                                       (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                              SCHEDULE E/F                         PROOF OF
  NO.                     CREDITOR NAME                                        SCHEDULED AMOUNT                DATE POC FILED POC CLAIM AMOUNT   CLAIM AMOUNT
                                                               CREDITOR #                          CLAIM NO.


  126 Nikki Ross                                                      3.490              $32.56                                                          $32.56
  127 Nyagoa Gony                                                     3.238              $48.11                                                          $48.11
  128 Olive Deandrea                                                  3.169              $17.63                                                          $17.63
  129 Patri Chaffins                                                  3.125              $13.66                                                          $13.66
  130 Peg Gulbranson                                                  3.246              $31.78                                                          $31.78
  131 Rbecc Baertsch                                                   3.62              $10.00                                                          $10.00
  132 Rebekah Dye                                                     3.189              $17.14                                                          $17.14
  133 Rosaline Glover                                                 3.235              $12.03                                                          $12.03
  134 Rosemary Mena                                                   3.365              $21.38                                                          $21.38
  135 S. Hermelbracht                                                 3.262              $10.70                                                          $10.70
  136 Samantha Dresen                                                 3.182              $14.22                                                          $14.22
  137 Sara Buechel                                                     3.99               $3.80                                                           $3.80
  138 Sarah Davis                                                        3.1                          98         04/20/2017            $50.00            $50.00
  139 Sarah Fouts                                                     3.223              $15.82                                                          $15.82
  140 Sarah Halsted                                                      3.1                         215         05/23/2017            $50.00            $50.00
  141 Sarah Ofarrio                                                   3.421              $18.18                                                          $18.18
  142 Shari Metz                                                      3.367              $91.91                                                          $91.91
  143 Shaylinn Kaus                                                   3.316              $12.28                                                          $12.28
  144 Sheena Nelson                                                   3.405              $13.08                                                          $13.08
  145 Shelby Swanson                                                  3.570               $1.90                                                           $1.90
  146 Sherri Hickman                                                  3.263              $21.10                                                          $21.10
  147 Shonnna Zuber                                                   3.645               $8.69                                                           $8.69
  148 Sindy M. Shanks                                                    3.1                         102         04/21/2017            $50.00            $50.00
  149 Skylar Obrien                                                   3.420              $37.80                                                          $37.80
  150 Sonika Hamdan                                                   3.251              $21.40                                                          $21.40
  151 Stacey Stormont                                                 3.562              $12.17                                                          $12.17
  152 Stacey Wallace                                                  3.615              $13.54                                                          $13.54
  153 Stepahnie Hallich                                               3.250              $12.40                                                          $12.40
  154 Stephanie Neuhaus                                               3.407              $32.08                                                          $32.08
  155 Tabatha McClure                                                    3.1                         90          04/13/2017            $25.00            $25.00
  156 Tara Bergsjo                                                       3.1                         108         04/21/2017           $115.00           $115.00
  157 Tiffany Larsen                                                  3.332               $6.85                                                           $6.85
  158 Tiffany Twohill                                                    3.1                         229         06/02/2017           $100.00           $100.00
  159 Tracy Powers                                                    3.459              $24.98                                                          $24.98
  160 Trista Fowler                                                      3.1                         242         06/14/2017            $52.50            $52.50
  161 Whitney McClure                                                 3.362               $8.13                                                           $8.13
  162 Wintey Shayla                                                   3.515               $1.35                                                           $1.35
UTILITY COMPANIES
  163 ALP Utilities                                                    3.34              $713.65                                                         $713.65
  164 Ameren Illinois                                                  3.35              $519.40      27         03/23/2017           $654.14            $654.14
  165 American Electric Power                                          3.37              $654.23                                                         $654.23
  166 American Electric Power                                          3.38              $828.17                                                         $828.17
  167 Ames Municipal Utilities                                         3.41              $695.59                                                         $695.59
  168 Aqua Ohio Inc.                                                   3.49               $11.82                                                          $11.82
  169 Ashwaubenon Water & Sewer Utility                                3.54              $135.05                                                         $135.05
  170 Atmos Energy Corporation                                         3.59              $222.63     297         06/29/2017           $143.67            $143.67
  171 Baxter, City of                                                  3.66               $61.01                                                          $61.01
  172 Belmont County Sanitary Sewer District                           3.70               $35.00                                                          $35.00
  173 Bemidji Holding, LLC                                             3.71               $82.59                                                          $82.59
  174 Benton PUD                                                       3.73              $306.13                                                         $306.13
  175 Black Hawk Waste Disp Inc.                                       3.79              $176.55                                                         $176.55
  176 Black Hills Energy                                               3.80              $531.25                                                         $531.25
  177 Brainerd Public Utilities                                        3.87              $592.15                                                         $592.15
  178 Cass County Electric Coop                                       3.111              $454.11                                                         $454.11
  179 Cedar Falls Utilities                                           3.114            $1,082.03     208         05/19/2017          $1,176.82         $1,176.82
  180 Centerpoint Energy                                              3.115              $269.26                                                         $269.26
  181 CenturyTel of Central Missouri dba CenturyLink                                                  81         04/10/2017            $47.10             $47.10
  182 CenturyTel of Southwest Missouri dba CenturyLink                                                80         04/10/2017            $76.49             $76.49
  183 CenturyTel of Wisconsin, LLC dba CenturyLink                    3.122              $36.90       78         04/10/2017             $5.65              $5.65
  184 City of Fergus Falls                                            3.135              $77.00                                                           $77.00
  185 City of Lima                                                    3.136              $19.02                                                           $19.02
  186 City of Garden City                                             3.227             $352.76      272         06/21/2017           $352.76            $352.76
         Case 17-30112                   Doc 773            Filed 07/03/18 Entered 07/03/18 16:40:19                                        Desc Main
                                                            Document      Page 40 of 52

                                   Class 3 - Convenience Class - General Unsecured Claims under $1,500
                                       (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                              SCHEDULE E/F                        PROOF OF
NO.                      CREDITOR NAME                                        SCHEDULED AMOUNT                DATE POC FILED POC CLAIM AMOUNT   CLAIM AMOUNT
                                                               CREDITOR #                         CLAIM NO.


187   City of Kearney Utilities Department                            3.318             $341.80      31         03/27/2017           $358.52            $358.52
188   City Water and Light                                            3.139             $409.80     238         06/12/2017           $337.99            $337.99
189   Clarksville Department of Electricity                           3.141             $449.23                                                         $449.23
190   Clarksville Gas & Water                                         3.142              $27.14                                                          $27.14
191   Columbia Gas of Ohio                                            3.147              $58.58     263         06/19/2017           $140.28            $140.28
192   Colorado Springs Utilities                                      3.146             $131.37                                                         $131.37
193   Consumers Energy Company                                        3.151              $56.36      40         03/30/2017            $58.06             $58.06
194   Detroit Lakes, City of                                          3.173             $469.57                                                         $469.57
195   DTE Energy                                                      3.183             $589.75                                                         $589.75
196   Dubuque, City of                                                3.184              $88.59                                                          $88.59
197   Duke Energy                                                     3.186             $325.00                                                         $325.00
198   Duke Energy Progress                                            3.187             $828.22                                                         $828.22
199   Dominion Hope Gas                                               3.179             $276.05     103         04/07/2017           $172.16            $172.16
200   Embarq Minnesota, INC dba CenturyLink                                                          82         04/10/2017             $4.52              $4.52
201   Empire District                                                 3.196             $608.29                                                         $608.29
202   Energy West, Inc.                                               3.197             $292.79      16         03/20/2017           $294.10            $294.10
203   Fargo, City of                                                  3.205             $341.60                                                         $341.60
204   Fort Dodge, City of                                             3.222              $90.62                                                          $90.62
205   Grand Island, City of                                           3.241             $700.06                                                         $700.06
206   Great Plains Natural Gas Co                                     3.243              $96.37      71         04/10/2017            $80.50             $80.50
207   Hays, City of                                                   3.258              $36.78                                                          $36.78
208   Idaho Falls, City of                                            3.274             $376.77                                                         $376.77
209   Idaho Power Corporation                                         3.275             $849.82                                                         $849.82
210   Indiana American Water                                          3.277              $43.22      54         04/03/2017            $24.31             $24.31
211   Indiana Michigan Power                                          3.278           $1,058.04                                                       $1,058.04
212   Intermountain Gas Co.                                           3.280             $162.18      69         04/10/2017           $230.80            $230.80
213   Janesville Water & Waste                                        3.286              $93.72                                                          $93.72
214   Johnson City Power Board                                        3.304             $589.51                                                         $589.51
215   Johnson City Utility                                            3.305              $13.73                                                          $13.73
216   Kennewick, City of                                              3.320             $134.81                                                         $134.81
217   KCPL Greater Missouri Corporation Inc.                          3.317             $374.59      32         03/27/2017           $555.65            $555.65
218   Lincoln Electric System                                         3.337             $470.68                                                         $470.68
219   Logan, City of                                                  3.341             $281.48                                                         $281.48
220   Madison Gas and Electric                                        3.346             $421.46                                                         $421.46
221   Mid-America Asset Management                                    3.368             $245.14                                                         $245.14
222   Mid-Nebraska Disposal                                           3.369              $91.90                                                          $91.90
223   MidAmerican Energy Company                                      3.370             $809.74       4         03/17/2017           $917.07            $917.07
224   Midwest Energy Inc                                              3.372             $822.27      59         04/03/2017           $829.26            $829.26
225   Willmar Municipal Utility                                       3.376             $343.42                                                         $343.42
226   Minnesota Energy Resources                                      3.377             $506.58                                                         $506.58
227   Mon Power                                                       3.380           $1,219.50                                                       $1,219.50
228   Montgomery County Environmental Services                        3.382              $75.19     241         06/14/2017           $101.82            $101.82
229   Muncie Sanitary District                                        3.390              $22.38                                                          $22.38
230   Municipal Light and Water                                       3.391             $169.89                                                         $169.89
231   Murfreesboro Electric Dept.                                     3.392             $492.43      20         03/20/2017            $65.37             $65.37
232   Nebraska Public Power District                                  3.399           $1,166.87                                                       $1,166.87
233   North Dakota Recycling Services, LLC                            3.412              $20.00                                                          $20.00
234   Northern Electric Coop                                          3.413             $436.13                                                         $436.13
235   Northern States Power Company, a Wisconsin                      3.642             $489.27      19         03/20/2017           $489.27            $489.27
      Corporation, d/b/a Xcel Energy
236   O'Fallon Water & Sewer                                          3.149              $19.69                                                          $19.69
237   Otter Tail Power Company                                        3.436           $1,065.86      36         03/28/2017          $1,062.03         $1,062.03
238   Pederson Sanitation Corp                                        3.442              $53.50                                                          $53.50
239   Pellitteri Waste Systems                                        3.443              $78.54                                                          $78.54
240   Public Service of Colorado A Colorado Corp DBA Xcel             3.642           $4,445.99      1          03/13/2017           $381.10            $381.10
      Energy
241   Public Utility Commission                                       3.469             $435.30                                                         $435.30
242   Questar Gas Company                                             3.470              $18.16      11         03/13/2017            $18.94             $18.94
243   Rocky Mountain Power                                            3.488           $1,409.54                                                       $1,409.54
244   Scottsbluff, City of                                            3.504             $888.47                                                         $888.47
245   SEMCO Energy                                                    3.509             $103.37      13         03/17/2017           $103.37            $103.37
246   SEMCO Energy Gas Co                                             3.509             $103.37      58         03/30/2017           $135.55            $135.55
247   St. Cloud, City of                                              3.536              $25.55                                                          $25.55
           Case 17-30112                   Doc 773          Filed 07/03/18 Entered 07/03/18 16:40:19                                          Desc Main
                                                            Document      Page 41 of 52

                                    Class 3 - Convenience Class - General Unsecured Claims under $1,500
                                        (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                               SCHEDULE E/F                         PROOF OF
  NO.                      CREDITOR NAME                                        SCHEDULED AMOUNT                DATE POC FILED POC CLAIM AMOUNT   CLAIM AMOUNT
                                                                CREDITOR #                          CLAIM NO.


  248   Sterling Heights, City of                                      3.558              $80.81                                                          $80.81
  249   Terre Haute, City of                                           3.581              $26.87                                                          $26.87
  250   The Energy Cooperative                                         3.585              $60.00                                                          $60.00
  251   United Telephone Company of Ohio dba CenturyLink                                               77         04/10/2017           $500.39           $500.39

  252   United Telephone Company of the West - NE dba                  3.123              $76.51       75         04/10/2017            $76.91            $76.91
        CenturyLink
  253   United Telephone Southeast - TN dba CenturyLink                3.124             $114.48       76         04/10/2017            $87.77            $87.77

 254 Vectren Energy Delivery                                           3.604              $160.87                                                         $160.87
 255 Vectren Energy Delivery                                           3.605               $88.94                                                          $88.94
 256 Verendrye Electric Coop                                           3.606              $261.44                                                         $261.44
 257 Vienna, City of                                                   3.609               $13.57                                                          $13.57
 258 Watertown Municipal Utilities                                     3.620              $405.17     235         06/08/2017           $501.49            $501.49
 259 WE Energies                                                       3.623            $1,063.71                                                       $1,063.71
 260 Williston, City of                                                3.633               $34.40                                                          $34.40
 261 Wisconsin Public Service Corporation                              3.637              $817.20     268         05/22/2017           $614.66            $614.66
 262 Youngstown Water                                                  3.644               $29.87                                                          $29.87
MERCHANTS, SERVICE PROVIDERS, AND MISC.
 263 1st Choice Electric Inc.                                             3.4             $270.00                                                         $270.00
 264 A & A Landscape                                                      3.7             $570.00                                                         $570.00
 265 A & G Electric Company                                               3.8             $183.51                                                         $183.51
 266 A.C. Klopf, Inc.                                                   3.11              $410.00                                                         $410.00
 267 A.T. Klemens                                                       3.13              $124.00                                                         $124.00
 268 A-1 Lock & Key                                                       3.9              $86.51                                                          $86.51
 269 A-1 Sign Co.                                                       3.10              $208.61                                                         $208.61
 270 AAA Heating & Sheet Metal                                          3.14              $130.00                                                         $130.00
 271 Aaron Parker                                                      3.440              $172.38                                                         $172.38
 272 ABM Building Services                                              3.15              $104.50                                                         $104.50
 273 AC3 Building Maintenance                                           3.16               $20.00                                                          $20.00
 274 Accucool Inc.                                                      3.17              $196.84                                                         $196.84
 275 Acorn Electrical                                                   3.18              $200.00                                                         $200.00
 276 Advanced Comfort                                                   3.21              $125.00                                                         $125.00
 277 Advanced Contracting                                               3.20              $260.00                                                         $260.00
 278 Advanced Heating & Air                                             3.22              $138.24                                                         $138.24
 279 Affordable Repair Service                                          3.23              $756.00                                                         $756.00
 280 AG Cleaning Services                                               3.25               $90.00                                                          $90.00
 281 Air Controls Billings                                              3.26              $700.19                                                         $700.19
 282 Aire Serv of Longview                                              3.28              $311.56                                                         $311.56
 283 AJ Sheet Metal, Inc.                                               3.29              $211.32      15         03/17/2017           $211.32            $211.32
 284 Alliant Energy                                                     3.32              $739.08                                                         $739.08
 285 Allied Restaurant Service                                          3.33              $133.75                                                         $133.75
 286 Ames Lock & Security                                               3.40              $123.05                                                         $123.05
 287 Amplitel Technologies                                              3.43              $203.11                                                         $203.11
 288 Anchor Safety, Inc.                                                3.44               $47.36                                                          $47.36
 289 Andor, Inc.                                                        3.46              $114.79                                                         $114.79
 290 Appollo Heating and Air Conditioning                               3.48            $1,467.45                                                       $1,467.45
 291 Ask About Windows                                                  3.54               $38.00                                                          $38.00
 292 AT&T - Atlanta, GA                                                 3.55              $504.08                                                         $504.08
 293 AT&T - Atlanta, GA                                                 3.58              $738.55                                                         $738.55
 294 AT&T - Carol Stream, IL                                            3.56              $525.55                                                         $525.55
 295 AT&T - Carol Stream, IL                                            3.57              $772.94                                                         $772.94
 296 Auman Company, Inc.                                                3.60              $119.63                                                         $119.63
 297 B.E. Capital Management Fund LP (1st Choice Lock &                   3.5             $325.20      74         04/11/2017           $325.20            $325.20
      Security LLP)
 298 Batner Pest Control, Inc.                                          3.64              $19.00                                                          $19.00
 299 Bekins Fire & Safety                                               3.68              $40.13                                                          $40.13
 300 Believe Electricians & Equipment Co.                               3.69             $532.43                                                         $532.43
 301 Big Creek Crossing                                                 3.75              $27.00                                                          $27.00
 302 Biss Lock, Inc.                                                    3.78             $218.82                                                         $218.82
 303 Bob Smith Window Cleaning                                          3.83               $7.34                                                           $7.34
 304 Bolton Construction                                                3.85             $190.10       93         04/17/2017           $190.10           $190.10
 305 Boothill Corporation                                                                             279         06/26/2017           $614.55           $614.55
         Case 17-30112                    Doc 773           Filed 07/03/18 Entered 07/03/18 16:40:19                                         Desc Main
                                                            Document      Page 42 of 52

                                    Class 3 - Convenience Class - General Unsecured Claims under $1,500
                                        (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                               SCHEDULE E/F                        PROOF OF
NO.                       CREDITOR NAME                                        SCHEDULED AMOUNT                DATE POC FILED POC CLAIM AMOUNT   CLAIM AMOUNT
                                                                CREDITOR #                         CLAIM NO.


306   Brekke Mechanical                                                 3.89              $28.19                                                          $28.19
307   Brite Way of the Illinois Valley                                  3.90              $24.00                                                          $24.00
308   Brite Way Professional Window Cleaning                            3.91              $38.52                                                          $38.52
309   Brite-Way Professional Window Cleaning                            3.92              $64.20                                                          $64.20
310   Brite-Way Window Cleaning, Inc.                                   3.93             $208.00      64         03/30/2017           $208.00            $208.00
311   Brite-Way Window Cleaning, Inc.                                   3.94              $70.00                                                          $70.00
312   Brite-Way Window Service                                          3.95              $31.00                                                          $31.00
313   Brite-Way Window Service                                          3.96              $15.00                                                          $15.00
314   Callabresi Heating & Cooling                                     3.102             $106.25                                                         $106.25
315   Cannizzo Electric Inc.                                           3.105             $359.00                                                         $359.00
316   Carlson JPM Store Fixtures                                       3.108             $446.04                                                         $446.04
317   CE Mitchell & Sons                                               3.113             $150.00     202         04/24/2017           $150.00            $150.00
318   Central Fire & Safety                                            3.116              $23.54                                                          $23.54
319   Central Heating & Air Conditioning Co.                           3.117             $105.00                                                         $105.00
320   Chapman's Mechanical                                             3.127             $205.70                                                         $205.70
321   Chappell Central Inc.                                            3.128             $159.82                                                         $159.82
322   Chioda Quality Window Cleaning                                   3.130              $80.00                                                          $80.00
323   Chitty Garbage Service                                           3.131             $317.79                                                         $317.79
324   Cintas Fire Protection                                           3.133             $107.92                                                         $107.92
325   Citywide Window Services                                         3.140              $60.04                                                          $60.04
326   Clear View Window                                                3.143              $30.00                                                          $30.00
327   Clearview Window Washing                                         3.144             $105.00                                                         $105.00
328   Cochran Construction                                             3.145             $113.70                                                         $113.70
329   Comfort Systems USA                                              3.148             $133.00                                                         $133.00
330   Commercial Air & Electric                                        3.149             $140.00                                                         $140.00
331   Consolidated Communications                                      3.150              $85.88                                                          $85.88
332   Cooper Consulting & Pro Mgmt Inc.                                3.153           $1,162.20     104         04/10/2017          $1,162.20         $1,162.20
333   Corporate Mall Services                                          3.154              $97.00                                                          $97.00
334   Countwise                                                        3.156             $922.50                                                         $922.50
335   CR Lighting & Electric                                           3.157              $94.80                                                          $94.80
336   Crossby Brownlie Inc.                                            3.159             $222.48                                                         $222.48
337   Crystal Clear Cleaning                                           3.160              $60.00                                                          $60.00
338   Curt's Lock & Key Service                                        3.161             $219.33                                                         $219.33
339   Dakota Fire Extinguishers                                        3.163              $35.98                                                          $35.98
340   Damian Reiten Construction Inc.                                  3.165             $375.00                                                         $375.00
341   Dayspring Window Cleaning                                        3.167              $32.38                                                          $32.38
342   Deluxe Business Forms                                            3.170              $62.69                                                          $62.69
343   Dependable Sanitation                                            3.171              $70.78                                                          $70.78
344   Dermer Refrigeration, Inc.                                       3.172              $54.00                                                          $54.00
345   Diesel Dogs Trucking, LLC                                        3.175             $237.50                                                         $237.50
346   Doctor Door                                                      3.178             $240.00      97         04/20/2017           $240.00            $240.00
347   Don Slagter                                                      3.524             $265.00                                                         $265.00
348   Doug Jenings                                                     3.291              $25.00                                                          $25.00
349   Dunn Electrical Service                                          3.188             $155.95                                                         $155.95
350   E and H Enterprises of Alexandria, Inc                            3.19              $82.38      5          03/17/2017            $82.38             $82.38
351   Ed Grace (S&S Shambaugh)                                         3.495             $970.00     335          8/18/2017           $970.00            $970.00
352   Edwards Electrical & Mechanical                                  3.194             $400.00                                                         $400.00
353   Ensley Electrical Services                                       3.198             $313.48                                                         $313.48
354   Epoch                                                            3.199             $980.00                                                         $980.00
355   Escon Group                                                      3.200             $250.25                                                         $250.25
356   Executive Electric                                               3.201             $425.00                                                         $425.00
357   Fargo Vacuum Sales & Service                                     3.204             $273.03     119         05/01/2017           $273.03            $273.03
358   Fashion Place, LLC                                                2.1*             $619.56     158          5/10/2017           $619.56            $619.56
359   Ficek Electric & Communication System                            3.208             $236.93                                                         $236.93
360   Fiddelke Heating & Air Conditioning, Inc.                        3.209             $117.70                                                         $117.70
361   Fineline Technologies Inc.                                       3.210             $232.11                                                         $232.11
362   Fire & Safety Equip III                                          3.212              $38.50                                                          $38.50
363   Fire Protection Specialist, LLC                                  3.213              $40.09                                                          $40.09
364   Fire Suppression Services                                        3.214              $37.80                                                          $37.80
365   Fireguard Inc.                                                   3.215             $103.00                                                         $103.00
366   Fish Window Cleaning                                             3.216              $63.00                                                          $63.00
367   Fish Window Cleaning                                             3.217              $27.82                                                          $27.82
368   Fish Window Cleaning                                             3.218              $13.91                                                          $13.91
         Case 17-30112                    Doc 773             Filed 07/03/18 Entered 07/03/18 16:40:19                                       Desc Main
                                                              Document      Page 43 of 52

                                    Class 3 - Convenience Class - General Unsecured Claims under $1,500
                                        (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                               SCHEDULE E/F                        PROOF OF
NO.                       CREDITOR NAME                                        SCHEDULED AMOUNT                DATE POC FILED POC CLAIM AMOUNT   CLAIM AMOUNT
                                                                CREDITOR #                         CLAIM NO.


369   Fish Window Cleaning                                             3.219              $20.00      26          3/22/2017            $20.00            $20.00
370   Foley Electric Inc                                               3.220             $316.00                                                        $316.00
371   Fortney Refrigeration                                            3.223             $199.99                                                        $199.99
372   Freedom Electric Inc.                                            3.225             $106.05                                                        $106.05
373   Frontier                                                         3.226             $668.50                                                        $668.50
374   Gary's Sewer & Drain                                             3.228             $100.00                                                        $100.00
375   General Repair Service Co                                        3.231             $200.00                                                        $200.00
376   Gering Valley Plumbing                                           3.233             $150.00                                                        $150.00
377   GMPC LLC                                                         3.236             $529.20                                                        $529.20
378   Global Gold, Inc. (Golden Touch)                                 3.237           $2,333.73     327         07/17/2017           $598.89           $598.89
379   Gonzales Contractors, LLC                                        3.239             $500.00                                                        $500.00
380   Goyette Mechanical                                               3.240             $735.00                                                        $735.00
381   Granite Telecommunications                                       3.242             $156.24                                                        $156.24
382   Greeley Lock and Key                                             3.244             $173.10     232         06/05/2017           $178.11           $178.11
383   Grunau Company                                                   3.245              $80.44                                                         $80.44
384   H. E. Neumann Company                                            3.249             $196.10     322         07/06/2017           $832.10           $832.10
385   Harrell-Fish Inc                                                 3.253             $175.00                                                        $175.00
386   Harvest Heating & Air Conditioning                               3.256             $188.50                                                        $188.50
387   Herman H. Moenkedick                                             3.379              $75.16                                                         $75.16
388   Hickory Tech                                                     3.264              $70.02                                                         $70.02
389   Hindman/Person Heating & Air Conditioning                        3.265              $90.95                                                         $90.95
390   Horton Electric Service                                          3.268             $208.47                                                        $208.47
391   Hovland's Inc                                                    3.269             $150.87                                                        $150.87
392   Howie's Trash Service                                            3.270              $94.96                                                         $94.96
393   Hullinger Glass & Locks                                          3.271              $90.42                                                         $90.42
394   Integrated Facility Solutions                                    3.279             $537.30                                                        $537.30
395   J. F. Ahern Co.                                                  3.283             $258.50      68         04/07/2017           $258.50           $258.50
396   James Kelly's Home Improvements                                  3.285             $729.74                                                        $729.74
397   JB's Handyman Service                                            3.288              $75.88                                                         $75.88
398   JC Security LLC                                                  3.289             $165.90     219         05/25/2017           $717.15           $717.15
399   JDS Mechanical Inc.                                              3.290             $142.50                                                        $142.50
400   Jensen's Handyman & Remodeling                                   3.293             $236.73                                                        $236.73
401   Jetter Clean, Inc.                                               3.294             $150.00                                                        $150.00
402   J-N-T Security Services                                          3.282              $40.50                                                         $40.50
403   John's Great American Window Cleaning Co.                        3.302              $44.00                                                         $44.00
404   John's Heating & A/C                                             3.303             $211.00                                                        $211.00
405   K.C. Electric Supply                                             3.311             $260.91                                                        $260.91
406   Kanndo Professional Services                                     3.313             $117.70      35         03/28/2017           $117.70           $117.70
407   Kevin's Unlimited Service Company                                3.321              $16.25                                                         $16.25
408   Kimbro Mechanical                                                3.322             $162.50                                                        $162.50
409   Kucera Plumbing, Heating, Cooling and Sheet Metal LLC            3.326             $240.33      33         03/27/2017           $240.33           $240.33
410   KW Electric Inc.                                                 3.328             $979.19                                                         $979.19
411   Kyle J. Sandy                                                    3.329             $240.00      41         03/30/2017           $240.00            $240.00
412   Larry's Window Service                                           3.330              $34.98                                                          $34.98
413   Larsen Property Services                                         3.331             $358.02                                                         $358.02
414   Limeblue                                                         3.336           $1,378.27                                                       $1,378.27
415   Lindsay Crystal                                                  3.338             $153.20                                                         $153.20
416   Literati Information                                             3.339             $148.40                                                         $148.40
417   Lloyd's Window Washing                                           3.340              $96.00                                                          $96.00
418   Love By Design By Design L.L.C.                                  3.342             $176.40                                                         $176.40
419   Luckinbill Inc.                                                  3.334             $210.00     234         06/07/2017           $213.15            $213.15
420   Malbrit Mechanical Inc.                                          3.350              $90.00                                                          $90.00
421   Manhattan Town Center                                            3.352             $350.00                                                         $350.00
422   Marc Brick Inc                                                   3.354             $257.80                                                         $257.80
423   Master Electric, Inc                                             3.356             $232.00                                                         $232.00
424   Mathison's                                                       3.357             $334.71                                                         $334.71
425   Maxsent                                                          3.358             $183.03                                                         $183.03
426   MC Electric, Inc.                                                3.360             $391.65                                                         $391.65
427   Meister Electric Inc.                                            3.364              $82.00                                                          $82.00
428   Metro Waste Services Co                                          3.366              $68.57                                                          $68.57
429   Mike's Lock & Key Service                                        3.373             $124.00                                                         $124.00
430   Miller Window Service                                            3.374              $65.27     114         04/27/2017            $65.27             $65.27
         Case 17-30112                   Doc 773           Filed 07/03/18 Entered 07/03/18 16:40:19                                         Desc Main
                                                           Document      Page 44 of 52

                                   Class 3 - Convenience Class - General Unsecured Claims under $1,500
                                       (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                              SCHEDULE E/F                        PROOF OF
NO.                      CREDITOR NAME                                        SCHEDULED AMOUNT                DATE POC FILED POC CLAIM AMOUNT   CLAIM AMOUNT
                                                               CREDITOR #                         CLAIM NO.


431   Minnkota                                                        3.378             $209.87                                                         $209.87
432   Mount's Lock & Key Inc.                                         3.386              $90.00                                                          $90.00
433   Mr. Handyman                                                    3.387             $324.00                                                         $324.00
434   Mr. Squeegee                                                    3.388              $72.00                                                          $72.00
435   Muth Electric Inc.                                              3.394           $1,252.69                                                       $1,252.69
436   National Security Consultant                                    3.397             $101.81                                                         $101.81
437   Naylor Heating and Refrigeration                                3.398              $95.44      66         04/05/2017            $95.44             $95.44
438   Nebraska Safety and Fire Equipment, Inc.                        3.400              $32.10                                                          $32.10
439   Neighborhood Services                                           3.401              $75.00                                                          $75.00
440   Nemont                                                          3.406              $98.29                                                          $98.29
441   No Streaking                                                    3.410             $105.44                                                         $105.44
442   Noble Locksmith Service                                         3.411              $69.00                                                          $69.00
443   Northern Lakes Window Cleaning                                  3.414              $29.92                                                          $29.92
444   Northwestern Ohio Security Systems, Inc.                        3.416             $119.93                                                         $119.93
445   Northwoods Construction of the Iron Range, Inc.                 3.417             $328.00                                                         $328.00
446   O'Donnell Corporation                                           3.418             $435.00                                                         $435.00
447   Oliver Tri County Heating & Air, Inc.                           3.423             $168.50                                                         $168.50
448   Olympic IV Mall Services                                        3.424             $106.25                                                         $106.25
449   Olympic Mall Services                                           3.425             $111.38                                                         $111.38
450   Oneida Realty Company                                           3.427              $10.84                                                          $10.84
451   Orkin                                                           3.430             $125.00                                                         $125.00
452   Orkin Pest Control                                              3.431              $88.00                                                          $88.00
453   Orkin, Inc.                                                     3.432              $57.97                                                          $57.97
454   Orkin, Inc.                                                     3.433             $106.58                                                         $106.58
455   Orkin, Inc.                                                     3.434              $55.00                                                          $55.00
456   Osteen & Lemmons                                                3.435             $201.20                                                         $201.20
457   Overhead Door Company of Webster County                         3.437           $1,049.00                                                       $1,049.00
458   Peopleready Inc.                                                3.444             $552.61                                                         $552.61
459   Penn Square Mall LLC                                             2.1*             $267.81     125           5/2/2017           $267.81            $267.81
460   Pestbusters, Inc.                                               3.448              $48.15                                                          $48.15
461   Peters Heating and Air Conditioning Inc.                        3.449             $175.00                                                         $175.00
462   Pioneer Sewer & Drain                                           3.451             $140.00                                                         $140.00
463   Pither Plumbing                                                 3.452             $261.23                                                         $261.23
464   Plumbing Perfection, Inc.                                       3.453             $166.26                                                         $166.26
465   Pop-A-Lock of Tri Cities                                        3.456              $56.94                                                          $56.94
466   Popular Basics                                                  3.457             $574.23                                                         $574.23
467   Precise Filter Service                                          3.460             $195.68                                                         $195.68
468   Precision Glass LLC                                             3.461              $65.00                                                          $65.00
469   Precision Locksmithing                                          3.462             $109.72                                                         $109.72
470   Premier Mechanical                                              3.464             $276.00                                                         $276.00
471   Presto-X                                                        3.465              $46.43                                                          $46.43
472   Professional Fire                                               3.466              $23.93                                                          $23.93
473   Proshield Fire & Security                                       3.468             $203.73                                                         $203.73
474   R&R Window Washing Service                                      3.472              $53.50                                                          $53.50
475   R/S Electric Construction                                       3.473           $1,099.67                                                       $1,099.67
476   Ralph's Electric Inc                                            3.474             $114.32                                                         $114.32
477   Randy's Window Cleaning                                         3.475               $5.00                                                           $5.00
478   Rapid Garage Door & Awning                                      3.476             $309.95                                                         $309.95
479   Reliable Pest Solutions                                         3.477              $43.91                                                          $43.91
480   Richards Heating and Cooling                                    3.481              $84.00      62         04/03/2017            $84.00             $84.00
481   Robards Pest Control                                            3.482              $19.42                                                          $19.42
482   Robert's Plumbing and Heating Inc.                              3.484              $60.00                                                          $60.00
483   Robinson Electric                                               3.486             $115.00                                                         $115.00
484   Rockford Heating & Air Conditioning                             3.487             $160.75                                                         $160.75
485   Ron Lepic                                                       3.334              $50.00                                                          $50.00
486   Roth Bros., Inc.                                                3.491              $95.00                                                          $95.00
487   Runyon Lock Service                                             3.493              $77.04                                                          $77.04
488   Ryder Truck Rental, Inc.                                        3.494             $134.12     314         07/01/2017           $134.12            $134.12
489   S.V.J. Electric Co., Inc.                                       3.495             $125.70                                                         $125.70
490   Sammy Phillips Electric                                         3.498             $154.79                                                         $154.79
491   Schwickerts Tecta America, LLC                                  3.502             $302.06      30         03/27/2017           $302.06            $302.06
492   SCR Inc.                                                        3.505             $211.99                                                         $211.99
493   Sean's Window Cleaning                                          3.506              $64.65                                                          $64.65
            Case 17-30112                   Doc 773            Filed 07/03/18 Entered 07/03/18 16:40:19                                        Desc Main
                                                               Document      Page 45 of 52

                                      Class 3 - Convenience Class - General Unsecured Claims under $1,500
                                          (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)

                                                                 SCHEDULE E/F                        PROOF OF
  NO.                       CREDITOR NAME                                        SCHEDULED AMOUNT                DATE POC FILED POC CLAIM AMOUNT   CLAIM AMOUNT
                                                                  CREDITOR #                         CLAIM NO.


  494    Service Cleaning Midtown LLC                                    3.510              $60.00                                                         $60.00
  495    Service Experts                                                 3.511              $69.00                                                         $69.00
  496    Service Specialists, Inc.                                       3.512             $301.47                                                        $301.47
  497    Sheet Metal Specialties                                         3.516             $140.00                                                        $140.00
  498    Shortprinter.com                                                3.518              $66.65                                                         $66.65
  499    SimplexGrinnell                                                 3.522              $72.50     273         06/22/2017            $72.50            $72.50
  500    Smithereen Pest                                                 3.527              $36.00                                                         $36.00
  501    Snell Services Inc.                                             3.528             $630.58                                                        $630.58
  502    Source Refrigeration & HVAC, Inc.                               3.532             $238.61                                                        $238.61
  503    Southwest Pesticide, Inc.                                       3.533              $92.36                                                         $92.36
  504    Spearmint Airmasters, Inc. d/b/a/ Airmasters HVAC/R              3.27             $240.00     296         06/29/2017           $240.00           $240.00
         and Sheet Metal
  505    SRT                                                             3.535              $90.51                                                         $90.51
  506    Staff Electric Co Inc.                                          3.537             $737.98                                                        $737.98
  507    Sturm Heating & Air Conditioning                                3.564             $138.59                                                        $138.59
  508    Suburban Electrical/ Engineers, Inc                             3.565             $293.01     270         06/08/2017           $293.01           $293.01
  509    Summit Companies                                                3.566              $45.00     236         06/09/2017            $45.00            $45.00
  510    Superior Mechanical                                             3.568             $532.00                                                        $532.00
  511    Swiftair                                                        3.571             $684.01                                                        $684.01
  512    T&M Electric Inc.                                               3.573             $309.09                                                        $309.09
  513    T.H. Eifert                                                     3.574             $306.25     240         06/14/2017           $306.25           $306.25
  514    TEC Electric Company                                            3.576             $187.50                                                        $187.50
  515    Temp Right Service Inc.                                         3.577              $99.00                                                         $99.00
  516    Temperature Pros, LLC                                           3.576             $105.00                                                        $105.00
  517    Terminix Processing Center                                      3.580             $135.31                                                        $135.31
  518    Terry's Heating & Air Conditioning                              3.582              $48.94                                                         $48.94
  519    The Steritech Group Inc.                                        3.587              $85.00                                                         $85.00
  520    The Window Washers                                              3.588              $64.00                                                         $64.00
  521    Thorne Plumbing, Heating, Air Conditioning Inc.                 3.590             $128.72                                                        $128.72
  522    Total Clean Window                                              3.592              $20.00                                                         $20.00
  523    Town and Country Electric                                       3.593              $91.80                                                         $91.80
  524    Tri-State Fire Extinguisher Company                             3.594              $66.33                                                         $66.33
  525    Ty the Window Guy                                               3.595              $80.00                                                         $80.00
  526    Uline                                                           3.596             $457.95                                                        $457.95
  527    United Team Mechanical                                          3.598             $276.00                                                        $276.00
  528    Van Ert Electric Company                                        3.600             $186.95                                                        $186.95
  529    Vanenk Electric, Inc.                                           3.602             $673.55                                                        $673.55
  530    Vector Security, Inc.                                           3.603              $52.06                                                         $52.06
  531    Verizon                                                         3.608              $68.72                                                         $68.72
  532    Village of Greendale                                            3.610              $35.00                                                         $35.00
  533    Volar Fashion                                                   3.611           $1,423.80                                                      $1,423.80
  534    W.J. Leasea Electric, Inc.                                      3.612             $161.48                                                        $161.48
  535    Waldinger Corporation                                           3.613             $622.98                                                        $622.98
  536    Wash Away All                                                   3.616             $256.20                                                        $256.20
  537    Washed White                                                    3.617              $47.08                                                         $47.08
  538    We Do Windows                                                   3.622              $60.00                                                         $60.00
  539    West Central Sanitation                                         3.624             $255.74                                                        $255.74
  540    Western Wyoming Lock                                            3.627             $145.25                                                        $145.25
  541    Williams General Construction                                   3.631             $206.43                                                        $206.43
  542    Williams Mechanical                                             3.632             $541.19                                                        $541.19
  543    Window Cleaning and Janitorial Service                          3.635              $50.00                                                         $50.00
  544    Windstream                                                      3.636             $244.60                                                        $244.60
  545    Woodman Refrigeration, Inc.                                     3.638             $123.77                                                        $123.77
  546    Woods Electrical Contractors Inc.                               3.639             $292.50                                                        $292.50
  547    WSC White Service Company                                       3.641             $135.31                                                        $135.31
TOTAL:                                                                                 $107,467.95                                   $25,032.83       $107,798.39
Case 17-30112   Doc 773   Filed 07/03/18 Entered 07/03/18 16:40:19   Desc Main
                          Document      Page 46 of 52



                                 EXHIBIT D

                     (Class 4 - General Unsecured Claims)
           Case 17-30112                  Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19                                       Desc Main
                                                      Document      Page 47 of 52

                                                    Class 4 - Effective Date Unsecured Claims
                                                             SCHEDULE E/F                        PROOF OF
NO.                       CREDITOR NAME                                     SCHEDULED AMOUNT                 DATE POC FILED   CLAIM AMOUNT        STORE #
                                                              CREDITOR #                         CLAIM NO.
LANDLORDS AND MALLS - CBL
  1 Ashville Mall CMBS LLC                                      2.1*                 $4,958.33     181          5/15/2017           $69,416.66     218
  2 Brookfield Square Joint Venture                             2.1*                 $5,833.33     194          5/15/2017          $105,688.33     207
  3 Burnsville Center SPE LLC                                   2.1*                 $6,400.28     192          5/15/2017           $83,203.64     213
  4 CBL/Monroeville LP                                          2.1*                 $6,629.53     175          5/15/2017           $86,183.89     181
  5 Cherryvale Mall LLC                                         2.1*                 $4,750.00     188          5/15/2017           $62,170.00     143
  6 Dakota Square Mall CMBS LLC                                 2.1*                $16,904.34     187          5/15/2017          $142,926.42     26
  7 Dakota Square Mall CMBS LLC                                 2.1*                     $0.00     185          5/15/2017            $9,451.00     26
  8 Fashon Square Mall CMBC LLC                                 2.1*                $12,256.44                                      $12,256.44     84
  9 Frontier Mall Assoc. LP                                     2.1*                 $6,713.53     186          5/15/2017           $84,274.43     129
 10 Honey Creek Mall LLC                                        2.1*                $15,739.89     190          5/15/2017          $130,255.00     271
 11 Janesville Mall LP                                          2.1*                 $4,583.33     191          5/15/2017           $59,583.33     46
 12 JG Winston-Salem LLC                                        2.1*                 $8,496.08     183          5/15/2017          $110,539.12     219
 13 Kirkwood Mall Acquisition LLC                               2.1*                $11,063.22     193          5/15/2017           $80,506.22      4
 14 Layton Hills Mall CMBS LLC                                  2.1*                 $7,945.38     171          5/15/2017           $21,858.18     94
 15 Madison/East Towne LLC                                      2.1*                 $9,041.67     189          5/15/2017          $121,063.08     98
 16 Meridian Mall LP                                            2.1*                 $6,464.28     182          5/15/2017           $66,287.23     96
 17 Mid Rivers Mall CMBS LLC                                    2.1*                 $4,770.25     172          5/15/2017           $63,255.37     234
 18 Northpark Mall/Joplin LLC                                   2.1*                $12,711.74     174          5/15/2017           $52,338.56     236
 19 Oak Park Mall LLC                                           2.1*                     $0.00     173          5/15/2017          $165,791.30     249
 20 Parkdale Crossing CMBS LLC                                  2.1*                $15,330.94     184          5/15/2017          $178,342.69     174
 21 South County Shoppingtown LLC                               2.1*                $10,794.70     180          5/15/2017           $19,747.98     235
 22 South County Shoppingtown LLC                               2.1*                     $0.00     179          5/15/2017          $116,699.77     235
 23 St. Clair Square SPE LLC                                    2.1*                 $4,687.50     178          5/15/2017           $60,937.50     141
LANDLORDS AND MALLS - GGP
 24 Apache Mall LLC                                             2.1*                $22,684.06     161          5/10/2017          $383,010.53     220
 25 Bellis Fair Mall LLC                                        2.1*                               162          5/10/2017            $1,510.50     79
 26 Boise Mall LLC                                              2.1*                $13,744.90     163          5/10/2017          $178,473.78     74
 27 Columbia Mall LLC                                           2.1*                 $6,667.50     159          5/10/2017          $102,472.80     232
 28 Florence Mall LLC                                           2.1*                $13,127.61     156          5/10/2017          $118,054.77     148
 29 Fox River Shopping Center LLC                               2.1*                     $0.00     155          5/10/2017            $5,967.04     47
 30 Fox River Shopping Center LLC                               2.1*                     $0.00     146          5/10/2017          $183,927.95     47
 31 GGP-Four Seasons LP                                         2.1*                 $8,151.08     154          5/10/2017           $87,500.50     217
 32 GGP-Glenbrook LLC                                           2.1*                 $1,783.08     144          5/10/2017           $43,303.03     108
 33 GGP-Grandville LLC                                          2.1*                 $8,689.61     153          5/10/2017          $140,626.84     80
 34 Grand Teton Mall LLC                                        2.1*                $13,393.03     145          5/10/2017          $126,696.70     71
 35 Greenwood Mall LLC                                          2.1*                $14,917.20     142          5/10/2017          $190,474.44     92
 36 Jordan Creek Town Center LLC                                2.1*                $19,484.56     141          5/10/2017          $250,013.57     73
 37 Lakeside Mall Property LLC                                  2.1*                 $9,880.46     143          5/10/2017           $79,566.51     145
 38 North Town Mall LLC                                         2.1*                $20,769.61     150          5/10/2017           $86,181.60     75
 39 Oak View Mall LLC                                           2.1*                $10,017.80     148          5/10/2017          $128,320.66     221
 40 Oakwood Hills Mall LLC                                      2.1*                $14,772.47     149          5/10/2017          $189,518.99     104
 41 PDC-Eastridge Mall LLC                                      2.1*                $13,356.73     157          5/10/2017          $169,092.49     128
 42 Pine Ridge JC, LLC                                          2.1*                 $4,417.81                                       $4,417.81     70
 43 River Hills Mall LLC                                        2.1*                $15,034.91     147          5/10/2017          $164,814.94     12
 44 Spokane Mall LLC                                            2.1*                $14,632.26     152          5/10/2017          $192,325.36     76
 45 St. Cloud Mall LLC                                          2.1*                $24,456.61     160          5/10/2017          $360,884.99     27
 46 Westroads Mall LLC                                          2.1*                 $6,308.33     151          5/10/2017           $69,278.15     61
LANDLORDS AND MALLS - SIMON PROPERTY GROUP
 47 Battlefield Mall LLC                                        2.1*                     $0.00     271          6/21/2017            $16,618.50    230
 48 Battlefield Mall LLC                                        2.1*                $15,403.42     271           5/3/2017           $161,056.16    230
 49 Bloomingdale Court, LLC                                     2.1*                    $0.00      295          6/29/2017           $66,000.00     146
 50 Columbia Mall P'Ship                                        2.1*                $15,657.89     128           5/3/2017           $204,931.55    163
 51 Empire Mall, LLC                                            2.1*                $28,250.45     203          5/18/2017           $373,688.33    11
 52 Greenwood Park Mall LLC                                     2.1*                $17,977.76     123           5/3/2017           $235,760.01    112
 53 Mall at White Oaks LLC                                      2.1*                 $9,401.93     121           5/3/2017           $132,188.72    202
 54 Penn Square Mall, LLC                                       2.1*                    $0.00      131           5/3/2017          $112,357.08     288
 55 Simon Capital Limited P'Ship                                2.1*                $14,205.80     133           5/3/2017           $183,300.64    106
 56 Simon Property Group (TX) LP                                2.1*                     $0.00     101          4/20/2017           $100,012.20    177
 57 Simon Property Group (TX) LP                                2.1*                     $0.00     99           4/20/2017           $135,118.44    178
 58 Simon Property Group (TX) LP                                2.1*                     $0.00     132           5/3/2017           $103,965.00
 59 Simon Property Group LP                                     2.1*                $15,219.47     130           5/3/2017           $199,259.65     2
 60 Simon Property Group LP                                     2.1*                 $7,964.38     100          4/20/2017            $99,683.20    109
 61 Simon Property Group LP                                     2.1*                $13,641.23     122           5/3/2017           $118,452.71    272
 62 Southdale Center, LLC                                       2.1*                    $0.00      129           5/3/2017           $95,000.04     286
 63 Southridge Limited P'Ship                                   2.1*                 $6,224.49     120           5/3/2017            $68,386.66    48
 64 SPG Independence Ctr. LLC                                   2.1*                $26,059.59     126           5/3/2017           $297,212.35    54
 65 Woodland Hills Mall LLC                                     2.1*                 $9,505.23     127           5/3/2017            $41,189.10    199
LANDLORDS AND MALLS - WASHINGTON PRIME
 66 Dayton Mall II, LLC                                         2.1*                 $7,650.33     255          6/16/2017           $66,614.59     115
 67 Glimcher MJC LLC                                            2.1*                 $9,877.22     254          6/16/2017           $22,669.72     81
 68 Glimcher Northtown Venture LLC                              2.1*                $14,019.07     253          6/16/2017          $180,648.39     212
 69 Grand Central Parkersburg LLC                               2.1*                 $8,830.33     252          6/16/2017           $30,506.12     183
 70 Lindale Mall LLC                                            2.1*                $11,184.27     261          6/16/2017           $49,261.73     137
 71 Mall at Great Lakes LLC                                     2.1*                 $9,041.67     248          6/16/2017          $117,993.79     90
              Case 17-30112                         Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19                                       Desc Main
                                                                Document      Page 48 of 52

                                                              Class 4 - Effective Date Unsecured Claims
                                                                       SCHEDULE E/F                        PROOF OF
 NO.                              CREDITOR NAME                                       SCHEDULED AMOUNT                 DATE POC FILED   CLAIM AMOUNT       STORE #
                                                                        CREDITOR #                         CLAIM NO.
 72 Mall at Lima LLC                                                      2.1*                $13,791.19     249          6/16/2017           $94,855.75    116
 73 Mall at Longview, LLC                                                 2.1*                 $6,511.32     110          4/25/2017           $87,415.86    179
 74 Maplewood Mall LLC                                                    2.1*                $12,379.93     250          6/16/2017          $160,939.09    226
 75 MFC Beavercreek LLC                                                   2.1*                $15,625.00     251          6/16/2017           $91,406.25    114
 76 Morgantown Commons LP                                                 2.1*                $14,038.23     260          6/16/2017           $82,899.26    184
 77 Muncie Mall LLC                                                       2.1*                $13,985.79     259          6/16/2017          $151,457.68    110
 78 Northwoods Shopping Center LLC                                        2.1*                 $8,342.97     256          6/16/2017          $109,883.17    203
 79 SM Mesa Mall LLC                                                      2.1*                $12,154.93     257          6/16/2017           $97,721.66    167
 80 SM Rushmore Mall LLC                                                  2.1*                $13,996.42     258          6/16/2017          $181,090.31    18
 81 Southern Park Mall LLC                                                2.1*                 $7,500.00     265          6/16/2017          $100,125.00    117
 82 West Ridge Mall LLC                                                   2.1*                 $8,034.18     262          6/16/2017          $106,135.14    255
LANDLORDS AND MALLS - MISC.
 83 Amarillo Mall LLC                                                     2.1*                 $1,414.70     166          5/11/2017           $43,747.99    171
 84 Birchwood Mall LLC                                                    2.1*                 $4,200.52     287          6/26/2017            $4,559.07    223
 85 C. Michelle Panovich as Court Receiver                                2.1*                 $4,583.33     243          6/15/2017           $64,421.29    51
 86 Cache Valley LLC                                                      2.1*                     $0.00     283          6/26/2017           $84,102.39    88
 87 Central Mall Realty Holding LLC                                       2.1*                 $7,719.11     118           5/1/2017          $372,389.29    251
 88 Colony Square Mall LLC                                                2.1*                 $5,967.13     197          5/16/2017           $63,768.24    152
 89 Conestoga Mall 2002 LLC                                               2.1*                 $6,976.17     316           7/1/2017           $88,525.33    65
 90 Crossroads Mall 1999 LLC                                              2.1*                 $4,662.87     317           7/1/2017           $22,300.63    132
 91 DROP-HT LLC                                                           2.1*                 $5,240.53      8           3/17/2017            $2,148.29    66
 92 Fort Smith Mall LLC                                                   2.1*                $11,299.31     167          5/11/2017          $151,720.41    210
 93 Frenchtown Square Partnership                                         2.1*                     $0.00     226           6/2/2017           $51,046.80    275
 94 Frenchtown Square Partnership                                         2.1*                $27,207.26     225           6/2/2017           $22,874.59    275
 95 Great Plains Clinic Med. Enterpr. LLC                                 2.1*                 $5,237.23     140           5/9/2017           $69,563.35    19
 96 Greeley Mall CO LLC                                                   2.1*                 $4,345.50     111          4/25/2017            $4,345.50    166
 97 Hayes Mall LLC                                                        2.1*                 $6,028.63      6           3/17/2017            $5,929.89    214
 98 Kennedy Mall Ltd                                                      2.1*                     $0.00     228           6/2/2017          $139,971.89    138
 99 Kennedy Mall Ltd                                                      2.1*                $10,968.40     227           6/2/2017           $10,968.40    138
 100 Macerich South Plains LP                                             2.1*                $11,564.95     310          6/30/2017          $150,477.60    170
 101 Magic Valley Mall LLC                                                2.1*                 $7,506.21     294          6/29/2017           $98,761.72    72
 102 Newgate Mall Equities LLC                                            2.1*                $14,823.40     319           7/3/2017          $173,440.80    78
 103 Nodana Petroleum Corp                                                2.1*                $31,648.88     113          4/27/2017           $29,145.00    20
 104 North Platte Assoc. LP                                               2.1*                 $3,243.59      7           3/17/2017            $3,725.95    69
 105 NSP LLC                                                              2.1*                 $4,492.74     10           3/21/2017            $4,363.94    68
 106 Ohio Valley Mall Company                                             2.1*                     $0.00     224           6/2/2017          $107,145.63    100
 107 Ohio Valley Mall Company                                             2.1*                $12,962.40     223           6/2/2017            $8,786.88    100
 108 PR Valley View LP                                                    2.1*                $14,402.60     107          4/24/2017          $160,312.91    105
 109 Quincy Mall Inc.                                                     2.1*                 $8,856.35     25           3/22/2017            $8,856.35    147
 110 Renaissance Partners I LLC                                           2.1*                     $0.00     311          6/30/2017          $163,330.99    165
 111 Rimrock Owner LP                                                     2.1*                $18,299.46     302          6/29/2017          $278,913.46    15
 112 RPI Turtle Creek Mall LLC                                            2.1*                $10,001.51     286          6/26/2017          $141,602.09    209
 113 Silver Lake Mall LLC                                                 2.1*                 $6,449.94     288          6/26/2017           $86,733.18    13
 114 Southern Hills Mall LP                                               2.1*                $26,905.51     313          6/30/2017          $403,910.80    28
 115 Southgate Mall Associates LLP                                        2.1*                $12,099.91     312          6/30/2017           $51,288.99    126
 116 ST Mall Owner LLC                                                    2.1*                     $0.00     307          6/30/2017           $88,282.22    122
 117 Star-West Gateway LLC                                                2.1*                $13,155.84     301          6/29/2017          $291,138.40    60
 118 Taubman Auburn Hills Assoc LP                                        2.1*                $28,291.02     169          5/12/2017          $122,570.08    49
 119 Taubman Auburn Hills Assoc LP                                        2.1*                     $0.00     170          5/12/2017            $9,105.18    49
 120 The Marketplace                                                      2.1*                 $5,575.00     164          5/10/2017           $55,404.00    185
 121 Urbanical Manhattan Town Center LLC                                  2.1*                $11,886.89     218          5/24/2017          $142,642.68    254
 122 750 Citadel Drive Holdings, LLC                                      2.1*                $14,640.18                                      $14,640.18    164
 123 Aslan III Stones River, L.L.C.                                       2.1*                 $5,836.20                                       $5,836.20    82
 124 Belt Highway, L.P.                                                   2.1*                 $6,602.77                                       $6,602.77    233
 125 Bemidji Holdings LLC                                                 2.1*                 $5,950.99                                       $5,950.99     9
 126 Central Square Mall, L.L.C.                                          2.1*                $29,422.26                                      $29,422.26    32
 127 Centro Richland LLC                                                  2.1*                 $5,793.95                                       $5,793.95    136
 128 College Square Maill Partners, LLC                                   2.1*                $11,017.86                                      $11,017.86    131
 129 Colombia Grand Forks, LLC                                            2.1*                $13,802.14                                      $13,802.14     3
 130 Gallatin Mall Group, L.L.C.                                          2.1*                 $6,198.33                                       $6,198.33    16
 131 Garden City Plaza, LLC                                               2.1*                 $4,849.13                                       $4,849.13    250
 132 GK Holiday Village, LLC                                              2.1*                $13,305.14                                      $13,305.14    36
 133 Hyman Family Trust                                                   2.1*                 $4,574.84                                       $4,574.84    35
 134 LSREF3 Spartan (Genesee) LLC                                         2.1*                $10,288.11                                      $10,288.11    276
 135 Midland Mall LLC                                                     2.1*                 $7,757.44                                       $7,757.44    277
 136 Oakwood Mall 2001, LLC                                               2.1*                 $3,242.68                                       $3,242.68    190
 137 Peru GKD Partners, LLC                                               2.1*                 $3,408.33                                       $3,408.33    140
 138 Quincy Place Holdings, LLC                                           2.1*                 $3,726.11                                       $3,726.11    244
 139 Rockstep Aberdeen, LLC                                               2.1*                 $5,264.61                                       $5,264.61    111
 140 Rockstep Scottsbluff LLC                                             2.1*                 $2,271.44                                       $2,271.44    67
 141 Rockstep Willmar, LLC                                                2.1*                 $4,407.57                                       $4,407.57    10
 142 Rubloff Tri-State Thunderbird Portfolio, LLC                         2.1*                 $3,376.87                                       $3,376.87    42
 143 Sunset Mall SPE, LP                                                  2.1*                 $5,194.81                                       $5,194.81    173
 144 Tri-County Mall, LLC                                                 2.1*                 $2,181.66                                       $2,181.66    124
              Case 17-30112                       Doc 773                Filed 07/03/18 Entered 07/03/18 16:40:19                                         Desc Main
                                                                         Document      Page 49 of 52

                                                                       Class 4 - Effective Date Unsecured Claims
                                                                                SCHEDULE E/F                         PROOF OF
 NO.                              CREDITOR NAME                                                SCHEDULED AMOUNT                   DATE POC FILED   CLAIM AMOUNT        STORE #
                                                                                 CREDITOR #                          CLAIM NO.
145 U.S. Bank National Association, as Trustee, as successor in interest to        2.1*                 $5,620.61                                         $5,620.61     133
    Bank of America, N.A
146 U.S. Bank NA, as Trustee for the registered holders of J.P. Morgan             2.1*                 $5,909.74                                         $5,909.74      77
    Chase Commercial Mortgage Securities Corp
147 Valley West Mall, LLC                                                          2.1*                 $7,633.33                                         $7,633.33     245
148 Viking Plaza Realty Group LLC                                                  2.1*                 $5,866.59                                         $5,866.59     31
149 Washington Square Limited Partnership                                          2.1*                 $3,462.26                                         $3,462.26     22
150 Waterloo Owner LLC                                                             2.1*                 $9,595.71                                         $9,595.71     130
151 Watertown Plaza LLC                                                            2.1*                 $4,265.16                                         $4,265.16     25
152 Westgate Mall Realty Group, LLC                                                2.1*                 $7,460.49                                         $7,460.49      8
153 Westland Mall Partners, LLC                                                    2.1*                 $7,178.29                                         $7,178.29     139
154 Westridge Mall Limited Partnership                                             2.1*                 $2,083.14                                         $2,083.14      7
MERCHANTS, SERVICE PROVIDERS AND MISC.
155 AFLAC                                                                          3.24                 $2,074.00                                         $2,074.00
156 Alliant Energy                                                                 3.31                 $2,791.13                                         $2,791.13
157 American Solutions for Business                                                3.39                 $3,047.76 204 and 267        4/24/2017            $6,280.15
                                                                                                                                      amended
                                                                                                                                     5/18/2017
 158 Anderson Bottrell Sanden & Thompson                                           3.45                  $292.50                                           $292.50
 159 Argo Partners (All Seasons Heating & Cooling)                                 3.30                $23,844.00                                        $23,844.00
 160 Artco Global Group LLC                                                        3.52                $11,931.75      29           03/27/2017           $11,926.15
 161 B.E. Capital Management Fund LP (Finesse Novelty Corp)                        3.211                $5,928.21      24           03/21/2017           $16,206.90
 162 BE Capital Management Fund LP, as assignee of Anfield Apparel                 3.47               $248,591.88      292                              $249,841.09
     Group, Inc.
 163 BE Capital Management Fund LP (D.L. Morse & Associates, Inc.)                 3.176              $137,033.32       47          04/03/2017           $12,434.40
 164 BE Capital Management Fund LP (D.L. Morse & Associates, Inc.)                 3.176                                48          04/03/2017           $15,459.40
 165 BE Capital Management Fund LP (D.L. Morse & Associates, Inc.)                 3.176                                49          04/03/2017           $53,154.20
 166 BE Capital Management Fund LP (D.L. Morse & Associates, Inc.)                 3.176                                50          04/04/2017            $9,073.62
 167 BE Capital Management Fund LP (D.L. Morse & Associates, Inc.)                 3.176                                53          04/03/2017           $46,911.70
 168 B.E. Capital Management Fund LP (Joe Benbasset Inc.)                          3.301               $24,204.97      383           8/17/2017           $24,204.97
 169 BBC Apparel Group, LLC c/o Rosenthal & Rosenthal, Inc.                        3.308               $63,869.33       137         05/08/2017           $80,536.85
 170 Bottrell Family Investments, LP                                                                                304 and 341      6/30/2017          $215,328.92
                                                                                                                                      amended
                                                                                                                                       10/4/17
 171 Bottrell Family Investments, LP                                                                                   285          06/26/2017             $3,588.40
 172 Bradford Capital Holdings, LP - (Fantas Eyes Inc.)                            3.203               $43,452.63      300           6/30/2017           $48,856.78
 173 Bradford Capital Holding, LP - (Mallory Alexander International               3.351              $138,262.49      237          06/08/2017            $44,132.22
     Logistics NY L.L.C.)
 174 Brown & Saenger                                                               3.97                 $4,603.44                                         $4,603.44
 175 Cavalini Inc. dba Ci Sono                                                     3.112              $171,430.98     233             6/6/2017          $177,004.50
 176 Central Temperature Equipment Service Inc.                                    3.118                $2,520.21                                         $2,520.21
 177 Contempo Limited                                                              3.152               $22,032.05 37 and 340        03/28/2017           $23,519.19
 178 CRG Financial LLC (Carmichael International)                                  3.109               $90,641.79                                        $90,641.79
 179 CRJ Solutions                                                                 3.158                $1,955.46                                         $1,955.46
 180 Dakota West Contracting                                                       3.164                $1,525.00                                         $1,525.00
 181 Diamond B Companies, Inc.                                                     3.174                              280           06/26/2017            $2,082.25
 182 DLA Company, LLC                                                              3.177               $77,383.00                                        $77,383.00
 183 Edgemine Inc.                                                                 3.193               $70,182.35     198            5/16/2017           $86,166.00
 184 Euler Hermes Agent for Finance One, Inc.                                                                         43             3/31/2017          $107,700.63
 185 Euler Hermes Agent for Project 28 Clothing                                    3.467                $1,896.00     44             3/31/2017            $3,557.50
 186 Euler Hermes N. A. Agent for Active USA Inc.                                  3.19                 $2,825.04     45            03/31/2017            $3,060.00
     Claim 000409289
 187 Euler Hermes N.A. (Aimee Lynn)                                                3.42                 $5,285.53      330          07/19/2017            $5,412.00
 188 Euler Hermes N.A. Agent for Bibby Financial Services                          3.88               $185,707.75      277           6/23/2017          $189,895.50
     (Brand Headquarters, LLC)
 189 Euler Hermes N.A. Agent for E.L.I.S. LLC                                      3.191               $60,237.17      199           5/17/2017          $61,496.50
 190 Fashion Forms Ce Soir Lingerie Co. Inc.                                       3.206                $2,565.15                                         $2,565.15
 191 General Information Services                                                  3.23                 $3,559.00      168          05/12/2017            $3,615.00
 192 GreatAmerica Financial Services Corporation                                                                       221          05/26/2017          $330,298.54
 193 Guru Knits, Inc.                                                              3.248                $1,212.75      306          06/30/2017           $17,013.00
 194 Hana Financial, Inc. (Heart & Hips)                                                                               61           04/03/2017           $17,670.00
 195 H. E. Neumann Company                                                         3.249                 $196.10       322          07/06/2017             $832.10
 196 Home Heating-Plumbing Air Conditioning Inc                                    3.267                $1,904.50                                         $1,904.50
 197 HYFVE                                                                         3.272                $2,088.99                                         $2,088.99
 198 Jenna Barton                                                                  3.292               $18,000.00      105          04/12/2017            $7,500.00
 199 Jiangsu GTIG Esen Co., LTD                                                    3.295               $32,591.00                                        $32,591.00
 200 Jiangsu Guotai Huasheng Industrial Co., Ltd.                                  3.296               $95,044.10      206          05/19/2017           $95,206.10
 201 Jiangsu Guotai International Group Guomao Co., Ltd                            3.297               $59,065.00      207          05/19/2017           $88,714.53
 202 Jjiangsu Sainty Glorious Trade Co., Ltd                                       3.298               $89,992.20      212          05/23/2017           $89,992.20
 203 Just Julez Inc.                                                               3.309                $8,367.24      84           04/11/2017            $8,538.00
 204 Justin Miller                                                                 3.375                $6,400.00                                         $6,400.00
 205 Karndean Designflooring                                                       3.314               $32,293.42                                        $32,293.42
 206 Kash Apparel, LLC                                                             3.315              $109,814.88      305          06/30/2017           $82,300.00
              Case 17-30112                        Doc 773                 Filed 07/03/18 Entered 07/03/18 16:40:19                                           Desc Main
                                                                           Document      Page 50 of 52

                                                                         Class 4 - Effective Date Unsecured Claims
                                                                                   SCHEDULE E/F                           PROOF OF
NO.                               CREDITOR NAME                                                      SCHEDULED AMOUNT                 DATE POC FILED   CLAIM AMOUNT       STORE #
                                                                                    CREDITOR #                            CLAIM NO.
207   Katherine Baber                                                                                                       315         07/01/2017       UNLIQUIDATED
208   Latitude, LLC                                                                                                          51         04/03/2017          $23,500.00
209   LeVeck Lighting Products and Maintenance                                        3.335                   $9,259.75      52         04/03/2017          $10,015.61
210   Liaoning Chengda Co Ltd.                                                        3.129                 $275,351.35    56/333        3/30/2017;        $305,731.15
                                                                                                                                       amended on
                                                                                                                                          7/31/2017
211   Louisiana Dept of Revenue                                                                                                                              $14,195.67
212   Lozier Corporation                                                              3.343                  $26,708.34     298         06/29/2017          $204,290.18
213   Lux Accessories Ltd                                                             3.345                  $14,997.95     266          6/20/2017           $15,622.87
214   Magnetic Media Online                                                           3.347                  $11,608.44                                      $11,608.44
215   Majco Apparel Inc.                                                              3.349                  $22,844.78      3          03/15/2017           $22,844.78
216   Marco Technologies LLC                                                     Schedule G - 2.38                          269         05/22/2017          $125,042.55
217   Midnite Express Incorporated                                                    3.371                  $34,288.85     39          03/29/2017           $34,288.85
218   Milberg Factors, Inc.                                                                                                 88          04/13/2017          $132,152.65
       *Jade Marketing Group, Inc. - $33,612.45
       *Just One - $5,670.00
       *Carole Accessories - $10,030.80
       *Pan Oceanic - $7,846.50
       *KNY Clothing, Inc. dba Lashes - $21,308.50
       *26 International Inc. - $53,684.40
219   Mood Media North America                                                        3.383                   $4,690.92     134         05/05/2017            $4,072.15
220   Motive Enterprise Inc.                                                          3.385                  $29,917.78                                      $29,917.78
221   New York: Worker's Compensation Board                                                                                                                    $513.67
222   Ningbo Seduno Import & Export Co., Ltd.                                         3.409                 $134,076.90     211         05/23/2017          $134,076.90
223   Ohio: State of Ohio                                                                                                                                     $2,667.35
224   Ohio: Regional Income Tax Agency                                                                                                                         $242.95
225   One Step Up                                                                     3.426                   $1,822.32                                       $1,822.23
226   Oracle America, Inc., Successor in Interest to NetSuite (Oracle)                3.428                   $9,811.14     274         06/22/2017            $9,713.89

227   Orion Fashions Inc.                                                             3.429                  $18,375.99                                      $18,375.99
228   Palen Kimball, LLC                                                              3.438                   $7,218.00     332          7/28/2017            $8,573.76
229   PepperJam                                                                       3.445                   $5,487.31                                       $5,487.31
230   Pomeroy IT Solutions Sales Company, Inc.                                                                              290         06/28/2017           $84,790.35
231   Pomeroy IT Solutions Sales Company, Inc.                                        3.454                  $39,125.66     291         06/28/2017           $20,948.56
232   Poof Apparel                                                                    3.455                   $9,028.44     205          5/19/2017            $5,220.00
233   Preference Employment Solutions, Inc.                                           3.463                   $1,845.16                                       $1,845.16
234   Revere Electric Supply d/b/a Nelson Electric                                    3.402                  $58,803.82     96          04/19/2017           $58,334.08
235   RGIS, LLC                                                                       3.478                  $23,851.26     117         05/01/2017           $23,851.26
236   Rosenthal & Rosenthal, Inc.                                                                                           136         05/08/2017           $53,234.00
       *GMA Accessories, Inc /Capelli - $7,830.00
       *Jodi Kristopher, LLC/City Triangles - $13,496.40
       *Tempted Apparel Corp - $31,907.60
237   RR Donnelley Logistics Services Worldwide Inc.                                  3.492                  $15,519.10                                      $15,519.10
238   Sales Floor Live LLC                                                            3.497                   $4,760.00     284         06/26/2017            $4,760.00
239   Sales Floor Live, LLC                                                                                                 303         06/30/2017            $7,495.70
240   Shine Imports                                                                   3.517                   $8,749.64                                       $8,749.64
241   Signorelli, Inc.                                                                3.520                   $4,947.43                                       $4,947.43
242   SQA & KC International, S.W.                                                    3.534                 $117,095.32                                     $117,095.32
243   Star of India                                                                   3.540                   $4,611.88                                       $4,611.88
244   State of California Department of Industrial Relations - Aide                   3.541                  $74,135.00                                      $74,153.00
      Guadalupe Martinez-Miranda
      (Case No. 633-125331/OV)
245   State of California Department of Industrial Relations - Alba Luz               3.543                 $152,164.00                                     $152,164.00
      Hernandez Lopez
      (Case No. WC-CM-182134)
246   State of California Department of Industrial Relations - Diego Perez-           3.547                 $181,831.40                                     $181,831.40
      Meza
      (Case No. WC-CM-157416)
247   State of California Department of Industrial Relations - Gabriel Catalan        3.542                  $83,738.50                                      $83,738.50
      Vargas
      (Case No. WC-CM-208859)
248   State of California Department of Industrial Relations - Gloria Cendejas        3.552                  $70,917.50                                      $70,917.50
      De Cachu
      (Case No. WC-CM-183664)
249   State of California Department of Industrial Relations - Isabel                 3.556                  $44,070.76                                      $44,070.76
      Valazquez-Guerra (Case No. WC-CM-158918)
250   State of California Department of Industrial Relations - Ismael Veliz-          3.554                 $105,470.00                                     $105,470.00
      Herrera
      (Case No. WC-CM-156085)
251   State of California Department of Industrial Relations - Jose Miguel            3.557                 $189,190.50                                     $189,190.50
      Rodriguez (Case No. WC-CM-159253)
252   State of California Department of Industrial Relations - Josue Garcia-          3.548                 $114,149.50                                     $114,149.50
      Cruz (Case No. WC-CM-156087)
             Case 17-30112                        Doc 773               Filed 07/03/18 Entered 07/03/18 16:40:19                                          Desc Main
                                                                        Document      Page 51 of 52

                                                                    Class 4 - Effective Date Unsecured Claims
                                                                                SCHEDULE E/F                          PROOF OF
 NO.                             CREDITOR NAME                                                   SCHEDULED AMOUNT                 DATE POC FILED   CLAIM AMOUNT        STORE #
                                                                                 CREDITOR #                           CLAIM NO.
253 State of California Department of Industrial Relations - Justina Cortes        3.553                 $77,389.00                                      $77,389.00
    Reyna
    (Case No. WC-CM-159267)
254 State of California Department of Industrial Relations - Lucitana              3.550                $105,470.00                                     $105,470.00
    Chavac
    (Case No. WC-CM-156084)
255 State of California Department of Industrial Relations - Magdalena             3.544                 $71,201.00                                      $71,201.00
    Antonio
    (Case No. WC-CM-159398)
256 State of California Department of Industrial Relations - Magdalena             3.546                 $99,131.50                                      $99,131.50
    Solis
    (Case No. WC-CM-157222)
257 State of California Department of Industrial Relations - Manuel                3.555                 $61,017.00                                      $61,017.00
    Demetrio Sosa
    (Case No. WC-CM-184641)
258 State of California Department of Industrial Relations - Maria de              3.545                 $69,132.00                                      $69,123.00
    Monserrat Leyva-Gonzalez
    (Case No. WC-CM-159228)
259 State of California Department of Industrial Relations - Miriam Perez          3.551                $201,552.50                                     $201,552.50
    (Case No. WC-CM-156086)

260 State of California Department of Industrial Relations - Patricia Gomez-       3.549                 $38,816.40                                      $38,816.40
    Arellano
    (Case No. WC-CM-158973)
261 Stored Value Systems, Inc. a division of Comdata Inc.                          3.561                  $9,469.45     73          04/10/2017             $9,469.45
262 Sun Ban Fashions Inc.                                                          3.567                  $6,245.01     275          6/22/2017             $6,368.90
263 Suzhou Hengrun Imp & Exp Co                                                    3.569                 $26,491.80                                       $26,491.80
264 TGC, LP                                                                        D 2.1              $5,248,777.43     281          6/26/2017         $5,248,777.43
265 The CIT Group/Commercial Services, Inc.                                                                             38          03/29/2017          $155,608.85
     *Ballet Group - $61,632.75
     *East Lion Corp - $2,570.40
     *Famma Group, Inc. - $35,915.10
     *IKEDDI Imports - $4,009.00
     *Kash Apparel - $45,676.60
     *Poof Apparel - $4,008.00
     *Stony Apparel - $1,797.00
266 TRC Master Fund LLC (R.J. Acquisition, d/b/a The Ad Art Company)               3.584                 $58,205.43     329         07/17/2017           $58,205.43

 267 TRC Master Fund LLC (Icon Eyewear)                                            3.273                 $85,334.66                                      $85,334.66
 268 Tyco Integrated Security, LLC                                                                                      60          04/03/2017            $1,664.88
 269 United Parcel Service, Inc.                                                   3.597                $198,803.62     318         07/01/2017          $183,000.00
 270 US Customs Service                                                                                                                                 $180,367.00
 271 Veritiv Operating Co.                                                         3.607                  $2,365.00     201         05/08/2017            $2,365.00
 272 UPS Supply Chain Solutions                                                    3.599                  $3,727.03                                       $3,727.03
 273 West Coast Trucking, Inc.                                                     3.625                  $3,005.00                                       $3,005.00
 274 Westcoast Warehousing LLC                                                     3.626                  $6,414.75                                       $6,414.75
 275 Westman Champlin Koehler                                                      3.628                  $9,012.90                                       $9,012.90
UTILITY COMPANIES
 276 Ameren Missouri                                                               3.36                   $1,603.34     14          03/17/2017            $1,753.41
 277 Avista Utilities                                                              3.61                   $1,514.39     320         07/05/2017            $1,631.34
 278 CenturyLink Communications, LLC f/k/a Qwest Communications                    3.119                  $1,694.72     70          04/10/2017            $2,000.89
      Company, LLC
 279 City of Peru                                                                  3.137                  $1,533.16                                       $1,533.16
 280 Dayton Power and Light Company                                                3.168                  $1,271.67     293         06/28/2017            $2,298.87
 281 Duke Energy                                                                   3.185                  $1,695.33                                       $1,695.33
 282 Mon Power                                                                     3.380                  $1,219.50     325         07/07/2017            $1,214.95
 283 Montana-Dakota Utilities Co.                                                  3.381                  $1,411.65     83          04/10/2017            $2,336.70
 284 Northern States Power Company, a Minnesota Corporation, d/b/a                 3.642                  $4,445.99     18          03/20/2017           $14,505.46
      Xcel Energy
 285 Northwestern Energy                                                            3.415                 $1,680.50                                       $1,680.50
 286 Ohio Edison                                                                    3.422                  $944.61      324         07/07/2017             $251.85
 287 Qwest Corporation dba CenturyLink QC                                      3.120 and 3.121            $2,684.99     79          04/10/2017            $3,013.29
 288 The Illuminating Company                                                       3.586                  $585.43      326         07/07/2017             $280.57
 289 Waste Management                                                          3.618 and 3.619            $3,216.93     230         06/01/2017            $3,228.95
 290 Wisconsin Power & Light Company                                                                                    239         06/12/2017            $3,835.51
LATE OR DUPLICATIVE
 292 Ashley Erickson                                                                 3.1                                365          3/29/2018               $19.48
 293 Cheryl Maxwell                                                                  3.1                                338         08/25/2017              $58.76
 294 Guru Knits, Inc.                                                                                                   308         07/03/2017          $17,013.00
 295 Jaclyn Mize                                                                     3.1                                357          1/22/2018             $150.00
 296 Jennifer Brettschneider                                                         3.1                                360          2/16/2018               $52.08
 297 Jessica Wegner                                                                  3.1                                359          2/13/2018             $150.00
 298 Kate Summers                                                                    3.1                                363          3/20/2018               $34.95
 299 Kendall Riley                                                                   3.1                                370         05/16/2018            $1,366.00
 300 Liberty Mutual Insurance                                                                                           323         07/05/2017       UNLIQUIDATED
               Case 17-30112                          Doc 773     Filed 07/03/18 Entered 07/03/18 16:40:19                                       Desc Main
                                                                  Document      Page 52 of 52

                                                                Class 4 - Effective Date Unsecured Claims
                                                                         SCHEDULE E/F                        PROOF OF
 NO.                               CREDITOR NAME                                        SCHEDULED AMOUNT                 DATE POC FILED   CLAIM AMOUNT       STORE #
                                                                          CREDITOR #                         CLAIM NO.
301    Lindsay Doyle                                                         3.1                               342         10/12/2017             $200.00
302    Mary Jo Crandell                                                      3.1                               355          1/16/2018               $32.22
303    Melissa Clement                                                       3.1                               331         07/24/2017              $25.00
304    Nellie Ouellet                                                        3.1                               339          9/18/2017             $100.00
305    Patricia Ann Draper                                                   3.1                               358          1/23/2018               $50.00
306    Planet Gold Clothing Co, Inc. (Golden Touch)                         3.237                              328         07/18/2017            $1,782.00
307    Project 28 Clothing LLC                                              3.467                $1,896.00     67          04/07/2017            $3,577.50
291    Quincy Mall Inc.                                                     2.1*                     $0.00     34           3/28/2017            $8,856.35    147
308    Ranae Wiggins                                                         3.1                               354           1/4/2018             $100.00
309    Sherri Heinert                                                        3.1                               368          4/24/2018               $20.00
310    Sherry L. Stark                                                       3.1                               367           4/3/2018             $200.00
311    Trina Anderson                                                        3.1                               356           2/6/2018               $50.00

TOTALS:                                                                                     $11,563,216.95                                  $25,461,126.39
